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        Caption in Compliance with D.N.J. LBR 9004-1(b)
        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
                                                                                                     Order Filed on February 16, 2024
                                                                                                     by Clerk
        In re:                                                           Chapter 11                  U.S. Bankruptcy Court
                                                                                                     District of New Jersey
        INVITAE CORPORATION, et al.,
                                          Debtors. 1                     Case No. 24-11362 (MBK)

                                                                         (Joint Administration Requested)



                     ORDER (I) APPROVING BIDDING PROCEDURES
                AND BID PROTECTIONS, (II) SCHEDULING CERTAIN DATES
          AND DEADLINES WITH RESPECT THERETO, (III) APPROVING THE FORM
           AND MANNER OF NOTICE THEREOF, (IV) ESTABLISHING NOTICE AND
          PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT OF CONTRACTS
             AND LEASES, (V) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT
          OF ASSUMED CONTRACTS, AND (VI) AUTHORIZING THE SALE OF ASSETS
              The relief set forth on the following pages, numbered three (3) through and including

    twenty-one (21), is ORDERED.




DATED: February 16, 2024




    1     The last four digits of Debtor Invitae Corporation’s tax identification number are 1898. A complete list of the
          Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
          website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/invitae. The Debtors’ service
          address in these chapter 11 cases is 1400 16th Street, San Francisco, California 94103.
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                                                    2
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        Upon the Debtors’ Motion for Entry of an Order (I) Approving Bidding Procedures and

Bid Protections, (II) Scheduling Certain Dates and Deadlines with Respect Thereto,

(III) Approving the Form and Manner of Notice Thereof, (IV) Establishing Notice and Procedures

for the Assumption and Assignment of Contracts and Leases, (V) Authorizing the Assumption and

Assignment of Assumed Contracts, and (VI) Authorizing the Sale of Assets, 2 of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), for entry of an order (this “Order”)

(a) approving      the    proposed      bidding      procedures       attached     hereto     as    Exhibit      1

(the “Bidding Procedures”), by which the Debtors will solicit and select the highest or otherwise

best offer(s) for the sale or sales (the “Sale Transaction(s)”) of all, substantially all, or any portion

of the Debtors’ assets (the “Assets”); (b) approving the break-up fee and expense reimbursements

relating to certain stalking horse bidders (the “Bid Protections”); (c) scheduling certain dates with

respect thereto; (d) approving the manner of notice of an auction or auctions, if any, for the Sale

Transaction(s), if any (the “Auction”); (e) scheduling dates and deadlines in connection with

approval of the Sale Transaction(s); and (f) approving procedures for the assumption and

assignment of certain executory contracts (the “Executory Contracts”) and unexpired leases

(the “Unexpired Leases”) in connection with the Sale Transaction(s), if any, all as more fully set

forth in the Motion; and upon the First Day Declaration; and the Swift Declaration filed in support


2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
    Bidding Procedures, as applicable.
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of the Motion; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the

Bankruptcy Court Under Title 11 of the United States District Court for the District of New Jersey,

entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion was

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court; and this Court having determined that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein; and upon all of the proceedings

had before the Court and after due deliberation and sufficient cause appearing therefore IT IS

HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Debtors have articulated good and sufficient reasons for authorizing and

approving the Bidding Procedures, which are fair, reasonable, and appropriate under the

circumstances and designed to maximize the recovery on, and realizable value of the Debtors’

enterprise, including with respect to the proposed procedures for providing Bid Protections as

determined by the Debtors in an exercise of their business judgment in accordance with the

Bidding Procedures, which Bid Protections the Court has not yet approved.
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        3.     The Debtors’ proposed notice of the Motion and the Hearing was (i) appropriate

and reasonably calculated to provide all interested parties with timely and proper notice, (ii) in

compliance with all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules, and

the Local Rules, and (iii) adequate and sufficient under the circumstances of these

chapter 11 cases, and no other or further notice is required. A reasonable opportunity to object or

be heard regarding the relief granted by this Order has been afforded to all interested persons and

entities.

        4.     All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled prior to or at the Hearing are overruled.

I.      Important Dates and Deadlines.

        5.     Final Bid Deadline. April 10, 2024, at 4:00 p.m., prevailing Eastern Time, is the

deadline by which all Qualified Bids must be actually received by the parties specified in the

Bidding Procedures.

        6.     Stalking Horse Bidders and Bid Protections. The Debtors, upon entry of this

Order, shall be authorized, but are not obligated or directed, in an exercise of their business

judgment, with the consent of the Required Holders (not to be unreasonably withheld, delayed, or

conditioned) and in consultation with any statutory committees appointed in these cases, to select

one or more Stalking Horse Bidders with respect to some or all of the Debtors’ Assets and enter

into a Stalking Horse APA by no later than March 29, 2024, at 4:00 p.m. (prevailing Eastern time).
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        7.        In the event that the Debtors, with the consent of the Required Holders (not to be

unreasonably withheld, delayed, or conditioned) and in consultation with any statutory committees

appointed in these cases, enter into a Stalking Horse APA with one or more Stalking Horse

Bidders, within two (2) business days of entry, the Debtors shall file a notice and proposed form

of order with the Court (the “Stalking Horse Notice”) and serve the Stalking Horse Notice on the

Stalking Horse Bidder, the Consultation Parties,3 1 and the U.S. Trustee. The Stalking Horse Notice

shall: (i) set forth the identity of the Stalking Horse Bidder (and if the Stalking Horse Bidder is a

newly formed entity, then the Stalking Horse Bidder’s parent company or sponsor); (ii) set forth

the amount of the Stalking Horse Bid and what portion (if any) is cash; (iii) state whether the

Stalking Horse Bidder has any connection to the Debtors other than those that arise from the

Stalking Horse Bid; (iv) specify any proposed Bid Protections (including the amount and

calculation thereof); (v) attach the Stalking Horse APA, including all exhibits, schedules and




3   “Consultation Parties” means the Required Holders and any statutory committee appointed in these cases;
    provided, however, that to the extent the Required Holders submit any Bid (including a Credit Bid that is either
    revocable or subject to amendment) for any Assets, such Required Holders shall not be a Consultation Party with
    respect to the evaluation and qualification of competing Bids for the Assets included in the Required Holders’
    Bid, or with respect to seeking and/or obtaining information about other Bids, but shall remain a Consultation
    Party for other purposes set forth in the Bidding Procedures and the Bidding Procedures Order. Notwithstanding
    the forgoing, to the extent the Required Holders submit a Credit Bid that is both (i) irrevocable and (ii) not subject
    to amendment after the Bid Deadline or during the Auction, the Required Holders will remain a Consultation
    Party with respect to the evaluation and qualification of competing Bids for such Assets included in the Required
    Holders’ Credit Bid.
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attachments thereto; (vi) specify the Assets included in the Stalking Horse Bid; and (vii) sets forth

the deadline to object to the Stalking Horse Bidder designation and any Bid Protections. If there

are no objections to the Stalking Horse Notice within five (5) days of filing with the Court,

(the “Notice Period”), the Debtors may submit an order to the Court that incorporates any

comments received during the Notice Period that authorizes the Debtors to designate a Stalking

Horse Bidder and to enter into a Stalking Horse APA, without the need for further hearing. If a

party timely files an objection to the Stalking Horse Notice, the Court shall hold a hearing after

the expiration of the Notice Period and as soon thereafter as the Court is available.

       8.      Upon entry of the order that authorizes the Debtors to designate a Stalking Horse

Bidder and to enter into a Stalking Horse APA, the Debtors, with the consent of the Required

Holders (not to be unreasonably withheld, delayed, or conditioned) and in consultation with any

statutory committees appointed in these cases, are authorized to incur and pay (a) the Breakup Fee

and (b) the Expense Reimbursement to each Stalking Horse Bidder that has not submitted a Credit

Bid (as defined in the Bidding Procedures) in an aggregate amount not to exceed three (3) percent

of the proposed Purchase Price.

       9.      No person or entity, other than the Stalking Horse Bidder, shall be entitled to any

expense reimbursement, breakup fees, “topping,” termination, or other similar fee or payment, and

by submitting a bid, such person or entity is deemed to have waived their right to request or to file
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with this Court any request for expense reimbursement or any fee of any nature, whether by virtue

of section 503(b) of the Bankruptcy Code or otherwise.

       10.     Auction. The date and time of the Auction is Wednesday, April 17, 2024, at

10:00 a.m., prevailing Eastern Time, which time may be extended by the Debtors, in consultation

with the Consultation Parties, upon written notice to the Court. The Auction will be held at the

offices of the proposed co-counsel to the Debtors: Kirkland & Ellis LLP, 601 Lexington Ave.,

New York, NY 10022. Only the Debtors, Qualified Bidders, the Consultation Parties, the U.S.

Trustee, and such parties’ representatives and advisors, shall be entitled to participate in the

Auction (provided that Qualified Bidders may appear through a duly authorized representative

(other than their counsel) bearing a valid and enforceable power of attorney or other written proof

evidencing their ability to bind the applicable Qualified Bidder, which document(s) shall be

delivered to the Debtors prior to the commencement of the Auction), and only Qualified Bidders

will be entitled to participate in or make Overbids (as defined in the Bidding Procedures) at the

Auction. The Debtors shall send written notice of the date, time, and place of the Auction to the

Qualified Bidders, the Consultation Parties, and the U.S. Trustee no later than two (2) business

days before such Auction, and will post notice of the date, time, and place of the Auction no later

than two (2) business days before such Auction on the website of the Debtors’ notice, claims, and

solicitation agent, Kurtzman Carson Consultants LLC (the “Notice and Claims Agent”), at
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www.kccllc.net/invitae. For the avoidance of doubt, the Debtors may also conduct more than one

Auction with respect to non-overlapping material portions of the Debtors’ Assets.

       11.     Notice of Successful Bidder. Within two (2) business days upon conclusion of the

Auction, the Debtors shall file a Notice of Successful Bidder.

       12.     Sale Objection Deadline. Objections to the Sale Transaction and the Notice of

Successful Bidder (“Sale Objection Deadline”), if any, must be made on or before April 29, 2024,

at 4:00 p.m., prevailing Eastern Time.

       13.     Failure to Object. If any party fails to timely file with the Court and serve an

objection by the Sale Objection Deadline or otherwise abide by the procedures set forth in the

Bidding Procedures regarding an objection to the Sale Transaction(s), such party shall be barred

from asserting, at the Sale Hearing or otherwise, any objection to the relief requested in the Motion

or to the consummation and performance of the Sale Transaction(s), including the transfer of the

Assets to the Successful Bidder, free and clear of all liens, claims, interests, and encumbrances

pursuant to section 363(f) of the Bankruptcy Code, and shall be deemed to “consent” for the

purposes of section 363(f) of the Bankruptcy Code.

       14.     Sale Hearing. May 6, 2024, at 10:00 a.m., prevailing Eastern Time, or as soon

thereafter as the Debtors may be heard, is the date and time for the hearing for the Court to consider

the Successful Bid or Successful Bids, if needed (the “Sale Hearing”). The Sale Hearing may be
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adjourned by announcement in open Court or on the Court’s calendar without any further notice

required.

II.    Auction, Bidding Procedures, Auction Notice, and Related Relief.

       15.     The Bidding Procedures, including the Auction Notice, attached to the Bidding

Procedures as Schedule 1, substantially in the form attached hereto as Exhibit 1, are incorporated

herein and are hereby approved in their entirety, and the Bidding Procedures shall govern the

submission, receipt, and analysis of all Bids relating to any proposed Sale Transaction(s). Any

party desiring to submit a Bid shall comply with the Bidding Procedures and this Order. The

Debtors are authorized to take any and all actions necessary or appropriate to implement the

Bidding Procedures. Subject to the terms of the Bidding Procedures, the Debtors, with the consent

of the Required Holders (not to be unreasonably withheld, delayed, or conditioned) and in

consultation with any statutory committees appointed in these cases, may modify the Bidding

Procedures as necessary or appropriate to maximize value for their estates.

       16.     Pursuant to the Bidding Procedures, the Debtors, in their business judgment, with

the consent of the Required Holders (not to be unreasonably withheld, delayed, or conditioned)

and in consultation with any statutory committees appointed in these cases, may (a) determine

which Qualified Bid is the highest or otherwise best offer, (b) reject, at any time before entry of

an order of the Court approving a Successful Bid, any Bid that the Debtors determine is (i)

inadequate or insufficient, (ii) not in conformity with the requirements of the Bankruptcy Code,
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the Bidding Procedures, or the terms and conditions of the Sale Transaction(s), or (iii) contrary to

the best interests of the Debtors, their estates, their creditors, and other stakeholders, and (c) impose

such other terms and conditions upon Qualified Bidders as the Debtors determine to be in the best

interests of the Debtors’ estates in these chapter 11 cases.

        17.     If the Debtors determine not to conduct an Auction, then the Debtors shall file a

notice with the Court of such determination within one (1) business day of the making of such

determination by the Debtors.

        18.     Any deposit (including any Good Faith Deposit) provided by a Qualified Bidder

shall be held in escrow by the Debtors or their agent and shall not become property of the Debtors’

bankruptcy estates unless and until released from escrow to the Debtors pursuant to the terms of

the applicable escrow agreement, the Bidding Procedures, or an order of this Court, as applicable.

        19.     The Auction Notice, substantially in the form attached to the Bidding Procedures

as Schedule 1, is hereby approved. Within two (2) business days following the entry of this Order,

the Debtors will cause the Auction Notice to be served upon (a) the office of the United States

Trustee for the District of New Jersey; (b) the Debtors’ thirty (30) largest unsecured creditors (on

a consolidated basis); (c) counsel for any statutory committees appointed in these case; (d) counsel

to the agent to the Secured Notes; (e) the indenture trustee to the 2024 Convertible Notes; (f) the

indenture trustee to the 2028 Convertible Notes; (g) Sullivan & Cromwell LLP, as counsel to the

Required Holders; (h) Wollmuth Maher & Deutsch LLP, as counsel to the Required Holders;
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(i) counsel to the 2028 Convertible Noteholders; (j) the U.S. Securities and Exchange Commission;

(k) the United States Attorney’s Office for the District of New Jersey; (l) the attorneys general in

the states where the Debtors conduct their business operations; (m) the Internal Revenue Service;

(n) all parties who have expressed a written interest in the Assets; (o) all known holders of liens,

encumbrances, and other claims secured by the Assets; (p) each governmental agency that is an

interested party with respect to the Sale Transaction; and (q) any party that has requested notice

pursuant to Bankruptcy Rule 2002. Within three (3) business days after entry of this Order, the

Debtors shall place a publication version of the Auction Notice in The New York Times

(National Edition) and post it on to the Debtors’ restructuring website at www.kccllc.net/invitae.

Such notice shall be deemed sufficient and proper notice of the Sale Transaction(s) with respect to

known interested parties.

       20.     Pursuant to Local Rule 6004-2: (a) each bidder participating at the Auction shall

be required to confirm that it has not engaged in any collusion with respect to the bidding or the

Sale Transaction(s), as set forth in the Bidding Procedures; (b) the Auction shall be conducted

openly; and (c) the Auction shall be transcribed or videotaped.

III.   Assumption and Assignment Procedures.

       21.     The procedures set forth below regarding the assumption and assignment of any

Executory Contracts and Unexpired Leases proposed to be assumed by the Debtors pursuant to

section 365(b) of the Bankruptcy Code and assigned to the Successful Bidder, if any, pursuant to
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section 365(f) of the Bankruptcy Code in connection with the Sale Transaction(s) are hereby

approved to the extent set forth herein.

       22.     These Assumption and Assignment Procedures shall govern the assumption and

assignment of all of the Debtors’ Executory Contracts and Unexpired Leases to be assumed and

assigned in connection with the Sale Transaction(s) under the Stalking Horse APA, if any, or the

Form APA, and any marked versions thereof, subject to the payment of any amount necessary to

satisfy all defaults and actual pecuniary loss to the counterparty resulting from such defaults

including, but not limited to, all claims, demands, charges, rights to refunds and monetary and

non-monetary obligations that the relevant counterparty can assert under an Executory Contract or

Unexpired Lease, whether legal or equitable, secured or unsecured, matured or unmatured,

contingent or non-contingent, liquidated or unliquidated, senior or subordinate, relating to money

now owing or owing in the future, arising under or out of, in connection with, or in any way relating

to a Contract (the foregoing amounts as stated in the Contract Assumption Notice, the “Cure

Payments”):

               (a)     Notice of Contract Assumption. As soon as reasonably practicable upon
                       conclusion of any Auction, the Debtors shall file on the docket and serve a
                       notice of contracts assumed and assigned to any Successful Bidder
                       (the “Contract Assumption Notice”), in substantially the form attached
                       hereto as Exhibit 2, via first class mail on the counterparties to the
                       Executory Contracts or Unexpired Leases to be assumed and assigned in
                       connection with the Sale Transaction(s) (the “Contract Counterparties”).
                       The Contract Assumption Notice, shall inform each recipient of the timing
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Caption:            ORDER (I) APPROVING BIDDING PROCEDURES AND BID
                    PROTECTIONS, (II) SCHEDULING CERTAIN DATES AND
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                    FORM AND MANNER OF NOTICE THEREOF, (IV) ESTABLISHING
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                    and procedures relating to such assumption and assignment, and, to the
                    extent applicable, (i) the title of the Executory Contract or Unexpired Lease,
                    (ii) the name of the counterparty to the Executory Contract or Unexpired
                    Lease, (iii) Debtors’ good faith estimates of the Cure Payments, if any,
                    required in connection with the Executory Contract or Unexpired Lease,
                    and (iv) the Sale Objection Deadline; provided, however, that service of a
                    Contract Assumption Notice does not constitute an admission that any
                    Executory Contracts and Unexpired Leases listed thereon is an executory
                    contract or that such stated Cure Payment constitutes a claim against the
                    Debtors or a right against any Successful Bidder, all rights with respect
                    thereto being expressly reserved. Further, the inclusion of a contract on the
                    Contract Assumption Notice is not a guarantee that such contract will
                    ultimately be assumed and assigned.

              (b)   Cure Payments. The payment of the applicable Cure Payments by the
                    Debtors and/or the Successful Bidder, as applicable shall (i) effect a cure of
                    all defaults existing thereunder, (ii) compensate for any actual pecuniary
                    loss to such counterparty resulting from such default, and (iii) together with
                    the assumption of the ultimately assumed Executory Contract or Unexpired
                    Lease by the Debtors and the assignment of such Executory Contract or
                    Unexpired Lease to the Successful Bidder, constitute adequate assurance of
                    future performance thereof.

              (c)   Supplemental Contract Assumption Notice. To the extent the Debtors,
                    at any time after the Auction (i) identify additional Executory Contracts or
                    Unexpired Leases that may be assumed by and assigned to the Successful
                    Bidder, (ii) remove any Executory Contracts or Unexpired Leases from the
                    list attached to the Contract Assumption Notice, (iii) and/or modify the
                    previously stated Cure Payment associated with any Executory Contract or
                    Unexpired Lease, the Debtors will promptly file with this Court and serve
                    by first-class mail a supplemental notice of contract assumption
                    (a “Supplemental Assumption Notice”) on each of the Contract
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                    Counterparties affected by the Supplemental Assumption Notice. Each
                    Supplemental Assumption Notice will include the same information with
                    respect to listed Executory Contracts or Unexpired Leases as was included
                    in the Contract Assumption Notice. Except as otherwise provided in any
                    purchase agreement, a Successful Bidder may designate additional
                    Executory Contracts and Unexpired Leases to be assumed and assigned up
                    to two (2) business days prior to the Closing and may remove Executory
                    Contracts or Unexpired Leases from the list of Executory Contracts and
                    Unexpired Leases up to two (2) business days prior to the Closing.

              (d)   Objections. Objections, if any, to the proposed assumption and assignment
                    or the Cure Payment proposed with respect thereto, must (i) be in writing,
                    (ii) comply with the applicable provisions of the Bankruptcy Rules, and the
                    Local Rules, (iii) state with specificity the nature of the objection and, if the
                    objection pertains to the proposed Cure Payment, state the correct
                    Cure Payment alleged by the objecting counterparty, together with any
                    applicable and appropriate documentation in support thereof, and (iv) be
                    filed with the Court and served upon (a) proposed counsel to the Debtors,
                    (b) counsel to the Stalking Horse Bidder, if any, (c) the Bid Notice Parties
                    (as defined in the Bidding Procedures), and (d) any other party that has filed
                    a notice of appearance in these chapter 11 cases, so as to be actually
                    received no later than April 29, 2024, at 4:00 p.m., prevailing Eastern
                    Time, (the “Cure Objection Deadline”) or the deadline set forth in a
                    Supplemental Assumption Notice, as applicable. The Debtors may
                    modify the Cure Objection Deadline and the deadline set forth in a
                    Supplemental Assumption Notice by filing a notice of such modification on
                    the Court’s docket.

              (e)   Dispute Resolution.       In the event that the Debtors and a
                    Contract Counterparty cannot resolve an objection to a Cure Payment, the
                    Executory Contract or Unexpired Lease at issue may be assumed by the
                    Debtors and assigned to the Successful Bidder, provided that the Debtors
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                       shall segregate the Cure Payment that the Contract Counterparty asserts is
                       required to be paid, pending a resolution of the dispute by the Court or
                       mutual agreement by the parties. Any objection to the proposed assumption
                       and assignment of a contract or related Cure Payment proposed in
                       connection with the Sale Transaction(s) that remained unresolved as of the
                       Combined Hearing, shall be heard at the Combined Hearing (or at a later
                       date as fixed by the Court).

               (f)     Contract Assumption. No Executory Contract or Unexpired Lease shall
                       be deemed assumed and assigned pursuant to section 365 of the Bankruptcy
                       Code until the later of (i) the date the Court has entered an order assuming
                       and assigning such Executory Contract or Unexpired Lease or (ii) the date
                       the Sale Transaction(s) has closed.

       23.     Any party failing to timely file an objection to the Cure Payments or the proposed

assumption and assignment of an Executory Contract or Unexpired Lease listed on the Contract

Assumption Notice or a Supplemental Assumption Notice is deemed to have consented to (a) such

Cure Payment, (b) the assumption and assignment of such Executory Contract or Unexpired Lease,

(c) the related relief requested in the Motion, and (d) the Sale Transaction(s). Such party shall be

forever barred and estopped from objecting to the Cure Payments, the assumption and assignment

of the Executory Contract or Unexpired Lease, adequate assurance of future performance, the relief

requested in the Motion, whether or not applicable law excuses such counterparty from accepting

performance by, or rendering performance to, the Successful Bidder for purposes of section

365(c)(1) of the Bankruptcy Code and from asserting any additional cure or other amounts against
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the Debtors and the Successful Bidder with respect to such party’s Executory Contract or

Unexpired Lease.

       24.     The Debtors shall, concurrently with the Contract Assumption Notice, provide

evidence to each Executory Contract or Unexpired Lease counterparty that the Proposed Assignee

has the ability to comply with the requirements of adequate assurance of future performance;

provided that any such evidence that constitutes nonpublic information shall be provided on a

confidential basis. All Bidders are deemed to consent to the transmission of such evidence of

adequate assurances of future performance on a confidential basis to counsel for the applicable

Executory Contract or Unexpired Lease counterparties via email with such information to be used

only for purpose of assessing the applicable Bidder.

       25.     The inclusion of an Executory Contract or Unexpired Lease in the Contract

Assumption Notice or a Supplemental Assumption Notice will not obligate any Debtor to assume

any Executory Contract or Unexpired Lease listed thereon or a Successful Bidder to take

assignment of such assumed Contract. Only those Executory Contracts and Unexpired Leases that

are included on a schedule of assumed and assigned contracts attached to the executed definitive

asset purchase agreement with a Successful Bidder (including amendments or modifications to

such schedules in accordance with such asset purchase agreement) will be assumed and assigned

to the applicable Successful Bidder. No Executory Contract or Unexpired Lease in the Contract

Assumption Notice or a Supplemental Assumption Notice shall be assumed other than in
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connection with (and concurrently with the effectiveness of) the assignment of such Executory

Contract or Unexpired Lease to the applicable Successful Bidder.

IV.    Miscellaneous.

       26.     Nothing in this Order or the Bidding Procedures shall be deemed a waiver of any

rights, remedies or defenses that any party (including the sureties, the Debtors, the Debtors’

lenders, and the agents under their respective credit agreements, the Stalking Horse Bidder, if

applicable, or any other prospective purchaser) has or may have under applicable bankruptcy and

non-bankruptcy law, under any indemnity agreements, surety bonds or related agreements or any

letters of credit relating thereto, or any rights, remedies, or defenses of the Debtors with respect

thereto, including seeking Bankruptcy Court relief with regard to the Auction, the Bidding

Procedures, the Sale Transaction(s), and any related items (including, if necessary, to seek an

extension of the Bid Deadline). Nothing in this Order of the Bidding Procedures waives or

modifies the requirements of the TSA, including, without limitation, the consent and consultation

rights contained therein.

       27.     The Debtors are authorized, with the consent of the Required Holders (not to be

unreasonably withheld, delayed, or conditioned) and in consultation with any statutory committees

appointed in these cases, to revise the Sale Schedule. The Debtors are further authorized to

conduct multiple Sale Transaction(s) and/or Auctions (as necessary) in substantial conformity with

the Sale Schedule and Bidding Procedures established through this Order.
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       28.     The Debtors, in connection with offering a product or a service, have not disclosed

any policies prohibiting the transfer of personally identifiable information about individuals to

persons that are not affiliated with the Debtors. Subject to this finding, nothing contained in this

Order prejudices parties in interest from seeking the appointment of a consumer privacy

ombudsman at a later date in connection with any proposed sales pursuant to the Bankruptcy Code.

In addition, nothing contained in this Order constitutes a determination as to whether the Debtors

are healthcare businesses and does not prejudice the Court from appointing a patient care

ombudsman pursuant to the Bankruptcy Code at a later date.

       29.     The failure to include or reference a particular provision of the Bidding Procedures

in this Order shall not diminish or impair the effectiveness or enforceability of such a provision in

the Bidding Procedures.

       30.     The Court, at the request of the Debtors, and in consultation with the Consultation

Parties, and subject to its availability, may modify the dates of and adjourn any hearing set by this

Order without further Order of this Court, provided that the Debtors will serve notice to all

requisite parties informing them of such modification.

       31.     The Debtors may, with the consent of the Required Holders (not to be unreasonably

withheld, delayed, or conditioned) and in consultation with any statutory committees appointed in

these cases, modify any of the deadlines set forth herein or provide for additional deadlines within
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the Sale Schedule without further order of the Court, provided that the Debtors will disclose all

applicable deadlines in a notice filed with the Court, including, as applicable, the Auction Notice.

       32.     The Debtors may, in consultation with the Consultation Parties, modify any Good

Faith Deposit as necessary or appropriate, based on the Assets being sold.

       33.     In the event of any inconsistencies between this Order and the Motion and/or the

Bidding Procedures, this Order shall govern in all respects.

       34.     Nothing contained in the Motion or this Order, and no action taken pursuant to the

relief requested or granted (including any payment made in accordance with this Order), is

intended as or shall be construed or deemed to be: (a) an admission as to the amount of, basis for,

priority of, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission or finding that any particular claim is an administrative expense

claim, other priority claim or otherwise of a type specified or defined in the Motion or this Order

(f) an admission as to the validity, priority, enforceability or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates; or (g) a waiver or limitation

of any claims, causes of action or other rights of the Debtors or any other party in interest against

any person or entity under the Bankruptcy Code or any other applicable law
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       35.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       36.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       37.     Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, the terms and

conditions of this Order shall be effective and enforceable immediately upon its entry.

       38.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       39.     Any party may move for modification of this Order in accordance with Local Rule

9013-5(e).

       40.     The Debtors shall serve a copy of this Order on all required parties pursuant to

Local Rule 9013-5(f).

       41.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.
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                                     Exhibit 1

                                 Bidding Procedures
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    Proposed Co-Counsel to the Debtors and                  Proposed Co-Counsel to the Debtors and
    Debtors in Possession                                   Debtors in Possession


                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

INVITAE CORPORATION, et al.,                                  Case No. 24-11362 (MBK)

                                     Debtors.
                                                1             (Joint Administration Requested)



                           BIDDING PROCEDURES FOR THE
                     SUBMISSION, RECEIPT, AND ANALYSIS OF BIDS
               IN CONNECTION WITH THE SALE OF THE DEBTORS’ ASSETS

       On February 13, 2024, the above-captioned debtors and debtors in possession (collectively,
the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the United States

1     The last four digits of Debtor Invitae Corporation’s tax identification number are 1898. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/invitae. The Debtors’ service
      address in these chapter 11 cases is 1400 16th Street, San Francisco, California 94103.
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Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court for
the District of New Jersey (the “Court”).

       The Debtors filed these chapter 11 cases after reaching an agreement in principle,
memorialized in a transaction support agreement (the “TSA”). Pursuant to the TSA, the Debtors
propose to sell or dispose (collectively, the “Sale Transaction(s),” and each, a “Sale”) all or
substantially all of the Debtors’ Assets (as defined herein) through a competitive bidding process
designed to generate maximum value to the Debtors, their creditors, and the estates.

        On February [__], 2024, the Court entered the Order (I) Approving Bidding Procedures
and Bid Protections, (II) Scheduling Certain Dates and Deadlines with Respect Thereto,
(III) Approving the Form and Manner of Notice Thereof, (IV) Establishing Notice and Procedures
for the Assumption and Assignment of Contracts and Leases, (V) Authorizing the Assumption and
Assignment of Assumed Contracts, and (VI) Authorizing the Sale of Assets, [Docket No. [__]]
(the “Bidding Procedures Order”), 2 by which the Court approved the following procedures
(the “Bidding Procedures”) setting forth the process by which the Debtors are authorized to solicit
bids for and conduct an auction (the “Auction”), if any, and ultimately select a purchaser for the
Sale of all or substantially all of the Debtors’ Assets or any portion thereof.

        Any Sale will be implemented pursuant to section 363 of the Bankruptcy Code or a
chapter 11 plan of reorganization (as modified, amended, or supplemented from time to time,
the “Plan”).

Copies of the Bidding Procedures Order or any other documents in the Debtors’ chapter 11 cases
are available upon request to Kurtzman Carson Consultants LLC by calling (866) 967-0263 (toll
free) or +1 (310) 751-2663 (international) or visiting the Debtors’ restructuring website at
www.kccllc.net/invitae.

I.        Assets to be Auctioned.

        The Debtors are seeking to sell all of their assets, or any portion thereof to the person or
entity making the most value maximizing bid through the process outlined in these Bidding
Procedures. These assets include, but are not limited to, the Debtors’ going-concern business,
unexpired leases, executory contracts, equipment, inventory, supplies, intellectual property,
insurance proceeds, prepaid expenses and deposits, and books and records, in each case, free and
clear of all liens, claims, interests, or other encumbrances (collectively, the “Assets”).

II.       Public Announcement of Auction.

       Within two (2) business days after entry of the Bidding Procedures Order, the Debtors shall
serve on the parties that receive notice of this Motion (i) the Bidding Procedures Order and the
Bidding Procedures and (ii) a notice setting forth (A) the date, time, and place of the Auction and
the hearing to consider the approval of the Sale Transaction(s) and (B) the deadlines and

2     All capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Bidding
      Procedures Order.


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procedures for objecting to the proposed Sale Transaction(s) in the form attached hereto as
Schedule 1 (the “Auction Notice”). Within three (3) business days after entry of the Bidding
Procedures Order, the Debtors shall also publish the Auction Notice, with any modifications
necessary for ease of publication, on one occasion in The New York Times (National Edition) to
provide notice to any other potential interested parties, and (iii) post the Auction Notice on their
case website, www.kccllc.net/invitae. The Auction Notice shall include a complete list and
general description of the Assets for sale.

III.       Potential Bidder Requirements.

       To participate in the bidding process or otherwise be considered for any purpose hereunder,
including to receive access to due diligence materials, a person or entity interested in purchasing
the Assets or part of the Assets (a “Potential Bidder”) must deliver or have previously delivered to
the Debtors the following preliminary documentation (collectively, the “Preliminary Bid
Documents”):

           a.       an executed confidentiality agreement (a “Confidentiality Agreement”) in form and
                    substance acceptable to the Debtors;

           b.       a statement of what portion of the Assets that the Potential Bidder intends to
                    acquire;

           c.       sufficient information that the Potential Bidder has or can reasonably obtain the
                    financial capacity to close a purchase of any portion, all, or substantially all of the
                    Debtors’ Assets, the adequacy of which must be acceptable to the Debtors, in
                    consultation with the Consultation Parties; 3 and

           d.       a statement detailing whether the Potential Bidder is partnering with or otherwise
                    working with any other interested party in connection with the potential submission
                    of a joint Bid, the identity of any such party or parties, and a concise description of
                    the nature of such partnership or joint Bid to the extent reasonably practicable.

        The Debtors, in consultation with their advisors, and in consultation with Consultation
Parties, will determine and notify each Potential Bidder whether such Potential Bidder has
submitted adequate documents so that such Potential Bidder may proceed to conduct due diligence
and submit a bid (such Potential Bidder, an “Acceptable Bidder”); provided that the rights of any
statutory committees appointed in these cases to seek modification of the Bidding Procedures

3      “Consultation Parties” means the Required Holders and any statutory committee appointed in these cases;
       provided, however, that to the extent the Required Holders submit any Bid (including a Credit Bid that is either
       revocable or subject to amendment) for any Assets, such Required Holders shall not be a Consultation Party with
       respect to the evaluation and qualification of competing Bids for the Assets included in the Required Holders’
       Bid, or with respect to seeking and/or obtaining information about other Bids, but shall remain a Consultation
       Party for other purposes set forth in these Bidding Procedures and the Bidding Procedures
       Order. Notwithstanding the forgoing, to the extent the Required Holders submit a Credit Bid that is both
       (i) irrevocable and (ii) not subject to amendment after the Bid Deadline or during the Auction, the
       Required Holders will remain a Consultation Party with respect to the evaluation and qualification of competing
       Bids for such Assets included in the Required Holders’ Credit Bid.


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Order in accordance with Local Rule 9013-5(e) are hereby reserved.

IV.    Qualified Bid Requirements.

       To participate in the Auction, an Acceptable Bidder must deliver to the Debtors and their
advisors an irrevocable offer for the purchase of some or all of the Assets (each, a “Bid”), and shall
meet the following criteria, in each case, on or prior to the Bid Deadline (as defined below):

       a.      Purchased Assets and Assumed Liabilities: Each Bid must clearly state the
               following: (a) the particular Assets, or the portion thereof identified, with
               reasonable specificity to be purchased and/or liquidated or otherwise disposed of;
               (b) the liabilities and obligations to be assumed, including any debt and cure costs
               to be assumed; (c) any executory contracts (the “Executory Contracts”) and any
               unexpired leases (the “Unexpired Leases”) to be received by assignment, and (d) as
               applicable, whether the Acceptable Bidder intends to operate the Debtors’ business
               as a going concern;

       b.      Good Faith Deposit: The Bid must be accompanied by a cash deposit in the
               amount equal to ten (10) percent of the aggregate purchase price of the Bid to be
               held in an interest-bearing escrow account to be identified and established by the
               Debtors (the “Good Faith Deposit”). To the extent that a Bid is modified at or prior
               to the Auction, the applicable Acceptable Bidder must adjust its Good Faith Deposit
               so that it equals ten (10) percent of the increased aggregate purchase price promptly
               and in no event later than one (1) business day following the conclusion of the
               Auction;

       c.      Purchase Price: Each Bid must (a) clearly set forth the purchase price to be paid,
               assuming a purchase of the applicable Assets and any assumption of liabilities
               (the “Purchase Price”), (b) identify separately the cash and non-cash components
               of the Purchase Price, and (c) indicate the allocation of the Purchase Price among
               the applicable Assets. The Purchase Price should be a single point value in
               U.S. Dollars for the applicable Assets on a cash-free, debt-free basis. Any Bid for
               substantially all of the Assets must also include a statement as to whether the Bid
               is conditioned on purchasing all Assets or whether the Qualified Bid should be
               viewed as a separate Bid for one or more sets of Assets. The Debtors reserve the
               right, in consultation with the Consultation Parties, to ask any Acceptable Bidder
               to allocate the value ascribed to a Bid for any particular Asset and to inquire about
               any significant assumptions on which such valuations are based;

       d.      Sources of Financing: To the extent that the Bid is not accompanied by evidence
               of the Acceptable Bidder’s capacity to consummate the Sale Transaction(s) set forth
               in its Bid with cash on hand, the Bid must include committed financing,
               documented to the Debtors’ satisfaction, that demonstrates that the Acceptable
               Bidder has received sufficient debt and/or equity funding commitments to satisfy
               the Acceptable Bidder’s obligations under the proposed Sale Transaction(s) and
               other obligations under its Bid; provided that the rights of any statutory committees
               appointed in these cases to seek modification of the Bidding Procedures Order in

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           accordance with Local Rule 9013-5(e) are hereby reserved. Such funding
           commitments or other financing must be unconditional and must not be subject to
           any internal approvals, syndication requirements, diligence, or credit committee
           approvals, and shall have covenants and conditions acceptable to the Debtors;

      e.   Same or Better Terms; Bid Documents: Each Bid must include duly executed
           and non-contingent, where applicable, transaction documents necessary to
           effectuate the transactions contemplated in the Bid (the “Bid Documents”). The
           Bid Documents shall include: (a) a purchase agreement, based on a form that the
           Debtors shall make available to Acceptable Bidders via the Debtors’ electronic data
           room pursuant to the due diligence process (the “Form APA”), duly executed by
           such bidder, containing only changes to the Form APA that are reasonably
           necessary to effectuate the Bid, (b) a schedule of Executory Contracts and
           Unexpired Leases to be assumed or rejected to the extent applicable to the Bid,
           (c) with respect to the form of purchase agreement, a redline of such agreement
           marked to reflect the amendments and modifications made to the Form APA,
           (d) any other material documents integral to such Bid, and (e) a statement from the
           Acceptable Bidder that (i) it is prepared to enter into and consummate the
           transactions contemplated in the Form APA, no later than ten (10) business days
           after the conclusion of the Auction, subject to any necessary regulatory approvals,
           as specified by the Acceptable Bidder (or, if no Auction is held, the deadline by
           which all binding Bids must be actually received pursuant to the
           Bidding Procedures (the “Bid Deadline”)) and (ii) the Qualified Bid will be
           irrevocable (whether or not such Qualified Bid is selected as the highest or
           otherwise best bid to purchase the applicable Assets (each, a “Successful Bid”) or
           next highest or otherwise best bid (the “Back-Up Bid”) until the consummation of
           the Sale Transaction(s));

      f.   No Qualified Bidder Bid Protections: Unless such Qualified Bid is selected as a
           stalking horse bid (a “Stalking Horse Bid”), a Qualified Bid must include a
           statement that the bid does not entitle such bidder to any break-up fee, termination
           fee, expense reimbursement, or similar type of payment or reimbursement and a
           waiver of any substantial contribution administrative expense claim under section
           503(b) of the Bankruptcy Code related to bidding for the applicable Assets;

      g.   Employee Obligations: Each Bid must indicate whether the Acceptable Bidder
           intends to hire all employees of the Debtors. If the Acceptable Bidder does not
           intend to hire all employees of the Debtors, the Acceptable Bidder must include a
           description of the Acceptable Bidder’s intentions with respect to the relevant
           members of the Debtors’ current management team and other employees who are
           employed primarily in connection with the applicable Assets, and a description of
           any contemplated incentive plan, to the extent applicable;

      h.   Authorization: Each Bid must contain evidence that the Acceptable Bidder has
           obtained all necessary authorizations or approvals from its shareholders and/or its
           board of managers or directors, or any other internal and other approvals, as


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           applicable, with respect to the submission of its Bid and the consummation of the
           transactions contemplated in such Bid;

      i.   Contingencies; No Financing or Diligence Outs: The Bid must not contain any
           contingencies as to the validity, effectiveness, or binding nature of the Bid,
           including, without limitation, contingencies for due diligence and inspection or
           financing of any kind (including any conditions pertaining to financial
           performance, conditions, or prospects) and all diligence must be completed before
           the Bid Deadline;

      j.   Identity: Each Bid must fully disclose the identity of each entity and each entity’s
           shareholders, partners, investors, and ultimate controlling entities that will be
           bidding for or purchasing the applicable Assets or otherwise participating in
           connection with such Bid, including each equity holder or other financial backer of
           the bidder (including if such bidder is an entity formed for the purpose of
           consummating the transactions contemplated by such Bid), and the complete terms
           of any such participation, along with sufficient evidence that the Acceptable Bidder
           is legally empowered to complete the transactions on the terms contemplated by
           the parties. Each Bid must also include contact information for the specific
           person(s) whom Moelis & Company LLC (“Moelis”) and Kirkland & Ellis LLP
           should contact regarding such Bid;

      k.   As-Is, Where-Is: Each Bid must include a written acknowledgement and
           representation that the Acceptable Bidder: (i) has had an opportunity to conduct
           any and all due diligence regarding the Sale Transaction(s) prior to making its offer;
           (ii) has relied solely upon its own independent review, investigation, and/or
           inspection of any documents and/or the assets in making its Bid; (iii) did not rely
           on or receive from any person or entity (including any of the Debtors or their
           advisors or other representatives) any written or oral statements, representations,
           promises, warranties, or guaranties whatsoever, whether express, implied, by
           operation of law, or otherwise, regarding the completeness of any information
           provided in connection therewith or the Auction (if any), except as expressly stated
           in the Acceptable Bidder’s purchase agreement; and (iv) did not engage in collusive
           conduct and acted in good faith in submitting its Bid;

      l.   Joint Bids and Merger Proposals: The Debtors will be authorized to approve joint
           bids in their business judgment, including, but not limited to, any bids that
           contemplate acquiring equity or assets through a merger or similar transaction,
           including if a proposed bid contemplates additional financing from one or several
           participating parties, on a case by case basis, so long as such bid meets the Qualified
           Bid Requirements and the applicable bidders otherwise comply with these Bidding
           Procedures; provided that the rights of any statutory committees appointed in these
           cases to seek modification of the Bidding Procedures Order in accordance with
           Local Rule 9013-5(e) are hereby reserved;

      m.   Adequate Assurance of Future Performance: Each Bid must (i) identify the
           Executory Contracts and Unexpired Leases to be assumed or assumed and assigned

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           in connection with the proposed Sale Transaction(s), (ii) provide for the payment
           of all cure amounts (the “Cure Amounts”) related to such Executory Contracts and
           Unexpired Leases by the Acceptable Bidder, (iii) demonstrate, in the Debtors’
           business judgment, in consultation with the Consultation Parties, that the
           Acceptable Bidder can provide adequate assurance of future performance under all
           such Executory Contracts and Unexpired Leases sufficient to satisfy the
           requirements of sections 365(b)(3) and 365(f)(2)(B) of the Bankruptcy Code, and
           (iv) provide the following documentation:

                    (i)      The proposed assignee (the “Proposed Assignee”) and any
                             guarantors, as applicable;

                    (ii)     Financial statements for the calendar or fiscal years ended 2022 and
                             2023 for the Proposed Assignee and any guarantors, as applicable,
                             and other financial information about the Proposed Assignee to
                             demonstrate its ability to provide adequate assurance of future
                             performance; and

                    (iii)    Summary of the Proposed Assignee’s proposed use of the premises;

      n.   Acknowledgement of Compliance with Bidding Procedures, Bidding Order,
           Bankruptcy Code, and Non-Bankruptcy Law: Each Bid must acknowledge that
           is has complied, and will continue to comply, in all respects with these Bidding
           Procedures, the Bidding Procedures Order, the Bankruptcy Code, and any
           applicable non-bankruptcy law;

      o.   Privacy Policies. The Acceptable Bidder must comply in all respects with the
           Debtors’ consumer privacy practices, and each Bid must contain a statement
           acknowledging such compliance. For the avoidance of doubt, the Debtors, in
           connection with offering a product or a service, have not disclosed any policies
           prohibiting the transfer of personally identifiable information about individuals to
           persons that are not affiliated with the Debtors;

      p.   No Collusion: The Acceptable Bidder must (a) acknowledge in writing that it has
           not engaged in any collusion with respect to any Bids or the Sale Transaction(s),
           specifying that it did not agree with any Acceptable Bidders or Potential Bidders to
           control price or otherwise with respect to any of the Assets or the Sale
           Transaction(s) and processes contemplated by the Bidding Procedures; and
           (b) agree not to engage in any collusion with respect to any Bids, the Auction, or
           the Sale Transaction(s). The Acceptable Bidder must further indicate if it has or
           intends to coordinate its bid, or otherwise bid with, any current or former member
           of the Debtors’ or their affiliates’ executive management or board of directors. For
           the avoidance of doubt, this requirement does not restrict Potential Bidder(s) from
           working with other Potential Bidder(s) with the Debtors’ prior written consent
           (email shall suffice);



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      q.   Good Faith Offer: The Bid must constitute a good faith, bona fide offer to
           consummate the Sale Transaction(s);

      r.   Irrevocable: Each Bid must state that in the event such Bid is chosen as the
           Back-Up Bid (as defined below), it shall remain irrevocable until the Debtors and
           the Successful Bidder consummate the applicable Sale Transaction(s);

      s.   Back-Up Bid: Each Bid shall provide that the Acceptable Bidder will serve as a
           Back-Up Bidder (as defined below) if the Acceptable Bidder’s Bid is the next
           highest or otherwise best bid with respect to the applicable Assets;

      t.   Regulatory and Third-Party Approvals and Covenants: A Bid must set forth
           each regulatory and third-party approval, if any, required for the Acceptable Bidder
           to consummate the applicable Sale Transaction(s), the time period within which the
           Acceptable Bidder expects to receive such regulatory and third-party approvals,
           and those actions the Acceptable Bidder will take to ensure receipt of such
           approvals as promptly as possible;

      u.   Regulatory Forms and Covenants: Each Bid by an Acceptable Bidder must
           include the forms necessary for submission of regulatory approval (other than HSR
           and non-U.S. antitrust filings) of the Sale Transaction(s) (as applicable), including,
           for the avoidance of doubt, to the Office of Health Care Affordability pursuant to
           the California Health Care Quality and Affordability Act;

      v.   Expected Closing Date and Time Frame for Closing: Each Bid must state the
           Acceptable Bidder’s expected date of closing of the Sale Transaction(s)
           (the “Closing”) and must be reasonably likely (based on antitrust or other
           regulatory issues, experience, and other considerations) to be consummated, if
           selected as the Successful Bid, within a time frame acceptable to the Debtors in
           consultation with the Consultation Parties;

      w.   No Fees: Except to the extent the Acceptable Bidder is approved, prior to the Bid
           Deadline and in accordance with Bidding Procedures Order, to be eligible to receive
           (x) a break-up fee (the “Break-Up Fee”) and/or (y) reimbursement of reasonable
           and documented out of pocket fees and expenses (the “Expense Reimbursement”
           and together with the Break-Up Fee, the “Bid Protections”) in an aggregate amount
           for (x) and (y) combined not to exceed three (3) percent of the Purchase Price as a
           stalking horse bidder (a “Stalking Horse Bidder”), each Acceptable Bidder
           presenting a Bid or Bids will bear its own costs and expenses (including legal fees)
           in connection with the proposed transaction, and by submitting its Bid(s) is agreeing
           to disclaim any right to receive any payments or amounts analogous to a break-up
           fee, expense reimbursement, termination fee, or other similar form of
           compensation;

           For the avoidance of doubt, each Acceptable Bidder by submitting its Bid is
           agreeing to refrain from and waive any assertion or request for reimbursement on
           any basis, including under section 503(b) of the Bankruptcy Code; provided that

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               the Debtors are authorized in their business judgment, with the consent of the
               Required Holders (not to be unreasonably withheld, delayed, or conditioned) and
               in consultation with any statutory committees appointed in these cases, to provide
               the Bid Protections to the Stalking Horse Bidder(s) in connection with any stalking
               horse agreement (a “Stalking Horse APA”) in accordance with these Bidding
               Procedures; provided further that to the extent any Stalking Horse Bidder has
               submitted a credit bid (a “Credit Bid”), the Bid Protections shall not be permitted;

       x.      Adherence to Bidding Procedures: By submitting its Bid, each Acceptable
               Bidder is agreeing to abide by and honor the terms of these Bidding Procedures and
               agrees not to submit a Bid or seek to reopen the Auction after conclusion of the
               Auction;

       y.      Consent to Jurisdiction: The Acceptable Bidder must submit to the jurisdiction
               of the Court and waive any right to a jury trial in connection with any disputes
               relating to the Debtors’ qualification of Bids, to the Auction, the Sale
               Transaction(s), and the construction and enforcement of these Bidding Procedures,
               preliminary bid documents, the Bids, the Bid Documents, and any and all other
               agreements entered into in connection with any proposed Sale Transaction(s), the
               Closing, and any other related matter; and

       z.      Conditions to Closing: Each Bid must identify with particularity each and every
               condition to closing, including the Executory Contract and Unexpired Leases for
               which assumption and assignment is required.

       Only Bids fulfilling all of the preceding requirements contained in this section as
determined or otherwise waived in the Debtors’ business judgment, with the consent of the
Required Holders (not to be unreasonably withheld, delayed, or conditioned) and in consultation
with any statutory committees appointed in these cases, may be deemed to be qualified bids
(the “Qualified Bids”), and only those parties submitting Qualified Bids, in the Debtors’ business
judgment, with the consent of the Required Holders (not to be unreasonably withheld, delayed, or
conditioned) and in consultation with any statutory committees appointed in these cases, may be
deemed to be qualified bidder (the “Qualified Bidders”).

        Neither the Debtors nor any of their advisors are making or have at any time made, and no
bidder, Potential Bidder, or Acceptable Bidder has relied, is relying, or shall rely on any warranties
or representations of any kind or character, express or implied, with respect to the Assets,
including, but not limited to, any warranties or representations as to operating history or
projections, valuation, governmental approvals, the compliance of the Assets with governmental
laws, the truth, accuracy, or completeness of any documents related to the Assets, or any other
information provided by or on behalf of the Debtors to a bidder, or any other matter or thing
regarding the Assets, except as expressly stated in the Acceptable Bidder’s purchase agreement.
All bidders must acknowledge and agree that upon closing the Debtors shall sell and transfer to
the Successful Bidder and the Successful Bidder shall accept the applicable Assets to the extent
expressly provided in the Bankruptcy Court’s order approving the Sale Transaction(s). Neither
the Debtors nor any of their advisors will be liable for or bound by any express or implied
warranties, guaranties, statements, representations, or information pertaining to the Assets or

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relating thereto that the Debtors, any advisor, or agent representing or purporting to represent the
Debtors to whomever might have made or furnished, directly or indirectly, orally or in writing,
unless (with respect to the Debtors only) specifically set forth in the Bankruptcy Court’s order
approving the Sale Transaction(s).

       There shall be no communications between or among Potential Bidders and/or Acceptable
Bidders unless the Debtors’ advisors have authorized such communication in writing. The Debtors
reserve the right, in their business judgment, to disqualify any Potential Bidders or Acceptable
Bidders that have communications between or amongst themselves without the prior authorization
of the Debtors’ advisors; provided that the rights of any statutory committees appointed in these
cases to seek modification of the Bidding Procedures Order in accordance with Local Rule
9013-5(e) are hereby reserved. For the avoidance of doubt, the joining of Bids between Potential
Bidders or Acceptable Bidders may be permitted by the Debtors in their business judgement.

        As soon as practicable after the Bid Deadline and in any event prior to the Auction, the
Debtors shall determine, with the consent of the Required Holders (not to be unreasonably
withheld, delayed, or conditioned) and in consultation with any statutory committees appointed in
these cases, which Acceptable Bidders, including Acceptable Bidders submitting Credits Bids
pursuant to these Bidding Procedures, are Qualified Bidders and will notify the Acceptable Bidders
whether the Bids, including any Credit Bids, submitted constitute Qualified Bids, which will
enable such Qualified Bidders to participate in the Auction. Any Bid that is not deemed a Qualified
Bid shall not be considered by the Debtors; provided that if the Debtors receive a Bid prior to the
Bid Deadline that does not satisfy the requirements of a Qualified Bid, the Debtors may provide
the Acceptable Bidder with the opportunity and work with the Acceptable Bidder to remedy any
deficiencies prior to the Auction.

V.     Right to Credit Bid

         Any party that has a valid and perfected lien on any of the Assets (a “Secured Creditor”)
shall have the right to submit Credit Bids consisting of all or a portion of the value of such Secured
Creditor’s claims within the meaning of section 363(k) of the Bankruptcy Code by no later than
the Bid Deadline; provided that a Secured Creditor shall have the right to Credit Bid its claim only
with respect to the collateral by which such Secured Creditor claim is secured; provided further
that if a Credit Bid is irrevocable and not subject to amendment after the Bid Deadline or during
the Auction, such Secured Creditor will remain a Consultation Party, as applicable, with respect
to the evaluation and qualification of competing Bids for such Assets included in such Secured
Creditor’s Credit Bid, or with respect to seeking and/or obtaining information about other Bids.

        If a Credit Bid is revocable or subject to further amendment, the submitting Secured
Creditor shall not be a Consultation Party, as applicable, with respect to the evaluation and
qualification of competing Bids for such Assets included in the Secured Creditor’s Credit Bid, or
with respect to seeking and/or obtaining information about other Bids, but shall remain a
Consultation Party for other purposes set forth in these Bidding Procedures and the Bidding
Procedures Order.

       Any Credit Bid made by a Secured Creditor will be deemed to be a cash Bid solely for
purposes of the Debtors’ evaluation of Bids (including the Debtors’ evaluation of Qualified Bids

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and Subsequent Bids). Any Secured Creditor shall be deemed to be an Acceptable Bidder, shall
be deemed to have submitted a Qualified Bid, and may participate in any Auction with respect to
any assets constituting collateral of such Secured Creditor without the requirement to submit a
Good Faith Deposit or any Bid Documents other than a marked form of the Form APA; provided
that any such Credit Bid must be submitted no later than the Bid Deadline; provided further that
no other party other than the Prepetition Secured Parties (as defined in the Cash Collateral Order)
may Credit Bid on the Collateral (as defined in the Cash Collateral Order) unless the entire amount
of the Prepetition Secured Indebtedness (as defined in the Cash Collateral Order) will be paid in
full in cash on the closing of such credit bid transaction. No Secured Creditor submitting a Credit
Bid shall be required to submit a Good Faith Deposit or any Bid Documents other than a marked
form of the Form APA.

VI.    Obtaining Due Diligence Access.

        Only Acceptable Bidders shall be eligible to receive due diligence information, access to
the Debtors’ electronic data room, and additional non-public information regarding the Debtors.
No Acceptable Bidder will be permitted to conduct any due diligence without entry into a
Confidentiality Agreement. Beginning on the date the Debtors determine that a party is an
Acceptable Bidder, or as soon as reasonably practicable thereafter, the Debtors will provide such
Acceptable Bidder with access to an electronic data room and reasonable due diligence
information, as requested by such Acceptable Bidder, as soon as reasonably practicable after such
request. The Debtors shall post substantially all written due diligence provided to any Acceptable
Bidder to the Debtors’ electronic data room for the benefit of all Acceptable Bidders, subject to
the further provisions below.

       Acceptable Bidders will not, directly, or indirectly, contact or initiate or engage in
discussions in respect of matters relating to the Debtors or a potential transaction with any
customer, supplier, or other contractual counterparty of the Debtors without the prior written
consent of the Debtors. The due diligence period will end on the Bid Deadline and subsequent to
the Bid Deadline the Debtors shall have no obligation to furnish any due diligence information.

        In connection with the provision of due diligence information to Acceptable Bidders,
the Debtors shall not furnish any confidential information relating to the Debtors or a potential
transaction to any person except an Acceptable Bidder or such Acceptable Bidder’s duly
authorized representatives to the extent provided in an applicable Confidentiality Agreement.

        The Debtors and their advisors shall coordinate all reasonable requests for additional
information and due diligence access from Acceptable Bidders; provided that the Debtors may
decline to provide such information to Acceptable Bidders who, in the Debtors’ business judgment
have not established, or who have raised doubt, that such Acceptable Bidders intend in good faith
to, or have the capacity to, consummate a Sale Transaction(s); provided further that the rights of
any statutory committees appointed in these cases to seek modification of the Bidding Procedures
Order in accordance with Local Rule 9013-5(e) are hereby reserved. For any bidder who is a
competitor or customer of the Debtors or is affiliated with any competitors or customers of the
Debtors, or otherwise presents a bona fide competitive or strategic concern, the Debtors reserve
the right, in consultation with the Consultation Parties, to withhold or modify any diligence
materials that the Debtors determine are business-sensitive or otherwise inappropriate for

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disclosure to such bidder.

        The Debtors shall provide the Consultation Parties periodic updates regarding the activity
of each Acceptable Bidder in the electronic data room in a form and frequency mutually acceptable
to the Debtors and the Consultation Parties; provided that the Debtors shall cooperate in good faith
to provide any such information reasonably requested by the Consultation Parties.

               A.      Communications          with      Acceptable       Bidders       (including
                       Qualified Bidders).

        Notwithstanding anything to the contrary in these Bidding Procedures, all substantive
direct communications, including any diligence requests, with Acceptable Bidders (including any
Qualified Bidders) shall be through Moelis.

               B.      Due Diligence from Acceptable Bidders (including Qualified Bidders).

        Each Acceptable Bidder (including any Qualified Bidder) shall comply with all reasonable
requests for additional information and due diligence access requested by the Debtors or their
advisors and their respective advisors, regarding the ability of such Acceptable Bidder (including
any Qualified Bidder) to consummate its contemplated transaction. Failure by an Acceptable
Bidder (including any Qualified Bidder, other than the Stalking Horse Bidder, if any) to comply
with such reasonable requests for additional information and due diligence access may be a basis
for the Debtors, to determine that such bidder is no longer an Acceptable Bidder (including any
Qualified Bidder, other than the Stalking Horse Bidder, if any) or that a bid made by such bidder
is not a Qualified Bid.

Barak Klein, Andrew Swift, and Amy Chen at Moelis shall coordinate all requests for
additional information and due diligence access on behalf of the Debtors. They can be
reached       at      barak.klein@moelis.com,      andrew.swift@moelis.com,       and
amy.chen@moelis.com.

VII.   Bid Deadline.

        Binding Bids must be submitted in writing to the following parties (the “Bid Notice
Parties”) so as to be actually received no later than 4:00 p.m., prevailing Eastern Time, on
April 10, 2024 (the “Bid Deadline”).

       (i)     proposed co- counsel to the Debtors, (A) Kirkland & Ellis LLP, 601 Lexington
               Avenue, New York, New York 10022, Attn.: Nicole L. Greenblatt, P.C.
               (nicole.greenblatt@kirkland.com), Francis Petrie, (francis.petrie@kirkland.com),
               and Nikki Gavey (nikki.gavey@kirkland.com) and Kirkland & Ellis LLP, 300
               North LaSalle, Chicago, Illinois 60654, Attn.: Spencer A. Winters, P.C.
               (spencer.winters@kirkland.com) and (B) Cole Schotz P.C., Court Plaza North, 25
               Main Street, Hackensack, New Jersey 07601, Attn.: Michael D. Sirota
               (msirota@coleschotz.com); Warren A. Usatine (wusatine@coleschotz.com);
               Felice R. Yudkin (fyudkin@coleschotz.com); and Daniel J. Harris
               (dharris@coleschotz.com); and
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       (ii)    the Debtors’ proposed investment banker, Moelis & Company LLC, 399 Park
               Avenue, 5th Floor, New York, NY 10022, Attn:                 Barak Klein
               (barak.klein@moelis.com), Andrew Swift (andrew.swift@moelis.com), and Amy
               Chen (amy.chen@moelis.com).

      The Debtors may extend the Bid Deadline for any reason whatsoever, in their business
judgment and in consultation with the Consultation Parties, for all or certain Acceptable Bidders.

VIII. Evaluation of Qualified Bids.

        The Debtors shall, with the consent of the Required Holders (not to be unreasonably
withheld, delayed, or conditioned) and in consultation with any statutory committees appointed in
these cases, evaluate Qualified Bids and identify the Qualified Bid that is, in the Debtors’ business
judgment, the highest or otherwise best Qualified Bid or combination of Qualified Bids for any
Assets (the “Starting Bid”). The Debtors shall promptly provide to the Consultation Parties copies
of all Bids received by the Debtors, including the Starting Bid; provided that the Consultation
Parties must treat such Bids and any related information as confidential and shall not publicly
disclose such information without the written consent of the Debtors and the applicable bidder.

         When determining the highest or otherwise best Qualified Bid, as compared to other
Qualified Bids, the Debtors may consider the following factors, in addition to any other factors
that the Debtors deem appropriate: (a) the amount and nature of the total consideration; (b) the
likelihood of the Qualified Bidder’s ability to close a transaction and the timing thereof; (c) the net
economic effect of any changes to the value to be received by each of the Debtors’ estates from
the transaction contemplated by the Bid Documents; (d) the Debtors’ regulatory requirements, and
(e) the tax consequences of such Qualified Bid; (f) whether the Qualified Bid contemplates a Sale
Transaction that would be consummated through a Plan or a sale pursuant to section 363 of the
Bankruptcy Code; (g) the certainty of a Qualified Bid leading to a confirmed Plan; and (h) any
other consideration that may impact the Debtors’ stakeholders; provided that the rights of any
statutory committees appointed in these cases to seek modification of the Bidding Procedures
Order in accordance with Local Rule 9013-5(e) are hereby reserved. Prior to commencing the
Auction, the Debtors shall notify the Stalking Horse Bidder, if any, and all Qualified Bidders as to
which Qualified Bid is the Starting Bid for the Auction with respect to the applicable Assets. At
such time, the Debtors shall also distribute copies of the Starting Bid to the Stalking Horse Bidder,
if any, and each Qualified Bidder.

IX.    Bid Protections.

       Pursuant to the Bidding Procedures Order, a Stalking Horse Bidder, if any, that has not
submitted a Credit Bid, is entitled to the Bid Protections in the amounts set forth herein, and in
accordance with the terms of the Bidding Procedures Order.

       In the event that the Debtors receive multiple Qualified Bids, with respect to any Assets,
at any time until March 29, 2024, at 4:00 p.m., prevailing Eastern Time, the Debtors shall be
authorized, but not obligated, in an exercise of their business judgment, with the consent of the
Required Holders (not to be unreasonably withheld, delayed, or conditioned) and in consultation
with any statutory committee appointed in these cases, to (a) select one or more Acceptable Bidders

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to act as the Stalking Horse Bidder in connection with the Auction for such assets, and (b) in
connection with any Stalking Horse APA with a Stalking Horse Bidder, (x) provide a break-up fee
and (y) agree to reimburse the reasonable and documented out of pocket fees and expenses not to
exceed (i) three (3) percent of the Purchase Price with respect to the foregoing clauses (x) and (y)
in the aggregate. Any such Bid Protections are authorized pursuant to the Bidding Procedures
Order.

        In the event that the Debtors, with the consent of the Required Holders (not to be
unreasonably withheld, delayed, or conditioned) and in consultation with any statutory committee
appointed in these cases, enter into a Stalking Horse APA with one or more Stalking Horse
Bidders, within two (2) business days of entry, the Debtors shall file a notice and proposed form
of order with the Court (the “Stalking Horse Notice”) and serve the Stalking Horse Notice on the
Stalking Horse Bidder, the U.S. Trustee, and the Consultation Parties. The Stalking Horse Notice
shall: (i) set forth the identity of the Stalking Horse Bidder (and if the Stalking Horse Bidder is a
newly formed entity, then the Stalking Horse Bidder’s parent company or sponsor); (ii) set forth
the amount of the Stalking Horse Bid and what portion (if any) is cash; (iii) state whether the
Stalking Horse Bidder has any connection to the Debtors other than those that arise from the
Stalking Horse Bid; (iv) specify any proposed Bid Protections (including the amount and
calculation thereof); (v) attach the Stalking Horse APA, including all exhibits, schedules and
attachments thereto; (vi) specify the Assets to which the Stalking Horse Bid relates; and (vii) sets
forth the deadline to object to the Stalking Horse Bidder designation and any Bid Protections. If
there are no objections to the Stalking Horse Notice within five (5) days of filing with the Court,
(the “Notice Period”), the Debtors may submit an order to the Court that incorporates any
comments received during the Notice Period that authorizes the Debtors to designate a Stalking
Horse Bidder and to enter into a Stalking Horse APA, without the need for further hearing. If a
party files an objection to the Stalking Horse Notice, the Court shall hold a hearing after the
expiration of the Notice Period and as soon thereafter as the Court is available.

       Upon entry of the order approving the designation of a Stalking Horse Bidder and Stalking
Horse APA, the Debtors are authorized to incur and pay the Bid Protections to each Stalking Horse
Bidder in accordance with the terms of the Stalking Horse APA.

        Except as otherwise set forth herein, no person or entity, other than a Stalking Horse Bidder
that has not submitted a Credit Bid, shall be entitled to any expense reimbursement, breakup fees,
“topping,” termination, or other similar fee or payment, and by submitting a bid, such person or
entity is deemed to have waived their right to request or to file with this Court any request for
expense reimbursement or any fee of any nature, whether by virtue of Bankruptcy Code section
503(b) or otherwise.

X.     No Qualified Bids.

       If no Qualified Bids other than a Bid submitted by a Stalking Horse Bidder, if any, are
received for the Assets included in such Stalking Horse Bid by the applicable Bid Deadline, then
the Debtors may cancel the Auction with respect to such Assets in consultation with the Required
Holders; provided that the rights of any statutory committees appointed in these cases to seek
modification of the Bidding Procedures Order in accordance with Local Rule 9013-5(e) are hereby
reserved. If any Stalking Horse Bid is the only Qualified Bid received by the applicable Bid
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Deadline, the Debtors may decide, in their business judgment, and in consultation with the
Consultation Parties, to designate such Stalking Horse Bid as the Successful Bid as to the
applicable Assets and pursue entry of an order approving a Sale Transaction(s) with respect to
such Assets to the Stalking Horse Bidder pursuant to the Stalking Horse APA. The Debtors shall
promptly file notice of any cancellation of the Auction and/or designation of the Stalking Horse
Bid, where applicable, as the Successful Bid with the Court.

XI.    Auction.

       Other than as expressly set forth herein, if the Debtors receive more than one Qualified Bid
for any particular Asset or portion of Assets by the Bid Deadline, the Debtors shall conduct an
Auction to determine the Successful Bidder (or Back-Up Bidder, as applicable) in their business
judgment with respect to such Assets or portion of Assets in accordance with the Auction
Procedures in consultation with the Consultation Parties. If the Debtors do not receive a Qualified
Bid for any particular Asset by the applicable Bid Deadline, the Debtors will not conduct an
Auction with respect to such Asset.

        If the Debtors determine, with the consent of the Required Holders (not to be unreasonably
withheld, delayed, or conditioned) and in consultation with any statutory committees appointed in
these cases, that they have received no Qualified Bids other than any Stalking Horse Bid(s) or they
have received only a single Qualified Bid, then the Auction will not occur, and the Stalking Horse
Bid(s) or the Qualified Bid will be deemed to be the Successful Bid(s) for the Assets to which such
Stalking Horse Bid(s) relate. The Debtors shall file a notice with the Court within one (1) business
day of making such a determination.

        The Auction, if necessary, shall commence on Wednesday, April 17, 2024, at 10:00 a.m.,
prevailing Eastern Time, or such other time or other place as the Debtors determine in consultation
with the Consultation Parties.

       The Auction will be conducted in accordance with the following procedures
(the “Auction Procedures”); provided that the rights of any statutory committees appointed in these
cases to seek modification of the Bidding Procedures Order in accordance with Local Rule
9013-5(e) are hereby reserved:

       a.      only Qualified Bidders may participate in or make subsequent Bids at the Auction;

       b.      only the Debtors, Qualified Bidders, the Consultation Parties, the U.S. Trustee, and
               such parties’ representatives and advisors may attend the Auction; provided that
               Qualified Bidders may appear through a duly authorized representative (other than
               their counsel) bearing a valid and enforceable power of attorney or other written
               proof evidencing their ability to bind the applicable Qualified Bidder, which
               document(s) shall be delivered to the Debtors prior to the commencement of the
               Auction;

       c.      the Debtors, with the assistance of their advisors, shall direct and preside over any
               Auction;


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      d.   at the commencement of the Auction, the Debtors may announce modified or
           additional procedures for conducting the Auction and related rules governing the
           Auction, including time periods available to all Qualified Bidders to submit
           successive bid(s), or otherwise modify the Bidding Procedures, in each case in
           consultation with the Consultation Parties; provided that material modifications to
           the Auction Procedures may only be made with the consent of the Required Holders
           (not to be unreasonably withheld, delayed, or conditioned);

      e.   bidding shall begin with the Starting Bid;

      f.   subsequent bids (each, an “Overbid”) may only be made at the Auction and shall
           be at least (i) a two (2) percent increase in cash, cash equivalents, or other such
           consideration that the Debtors, in their business judgment, with the consent of the
           Required Holders (not to be unreasonably withheld, delayed, or conditioned) and
           in consultation with any statutory committees appointed in these cases, deem
           equivalent over the previous bid plus (ii) solely with respect to the first Overbid
           made by a party in the event that the Debtors have entered into a Stalking Horse
           APA, except with respect to any Overbid made by the Stalking Horse Bidder, if
           any, with respect to the Assets to which the Overbid relates, the aggregate amount
           of Bid Protections under such Stalking Horse APA (a “Minimum Overbid”), and
           each successive Overbid shall exceed the then-existing Overbid by an incremental
           amount that is not less than the Minimum Overbid. The Debtors may, in their
           business judgment and in consultation with the Consultation Parties announce
           increases or reductions to the Minimum Overbid at any time during any Auction.
           For the avoidance of doubt, each successive Bid that a Qualified Bidder may submit
           at any Auction must contain a Purchase Price in cash, cash equivalents, or such
           other consideration that the Debtors, in their business judgment, with the consent
           of the Required Holders (not to be unreasonably withheld, delayed, or conditioned)
           and in consultation with any statutory committees appointed in these cases, deem
           equivalent that exceeds the then-existing highest Bid by at least the amount of the
           Minimum Overbid;

      g.   each Qualified Bidder will be permitted a reasonable time to respond to previous
           bids at the Auction, as determined by the Debtors;

      h.   during the course of the Auction, the Debtors shall, after submission of each
           Overbid, promptly inform each Qualified Bidder of the terms of such Overbid and
           inform each Qualified Bidder whether such Overbid reflects, in the Debtors’ view,
           in consultation with the Consultation Parties, the then highest or otherwise best
           bid(s) for the applicable Assets;

      i.   to remain eligible to participate in the Auction, in each round of bidding, each
           Qualified Bidder must submit an Overbid with respect to such round of bidding and
           to the extent a Qualified Bidder fails to submit an Overbid with respect to such
           round of bidding, such Qualified Bidder shall be disqualified from continuing to
           participate in the Auction; provided that the Debtors may waive such requirement
           in their business judgment in consultation with the Consultation Parties;

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      j.   the Auction will be transcribed to ensure an accurate recording of the bidding at
           the Auction;

      k.   each Qualified Bidder will be required to confirm on the record that it has not
           engaged, and will not engage, in any collusion with respect to the bidding or any
           Sale Transaction(s). For the avoidance of doubt, this requirement does not restrict
           Qualified Bidder(s) from working with other Qualified Bidder(s) with the Debtors’
           prior written consent;

      l.   each Qualified Bidder will be required to confirm on the record that its bid is a good
           faith, bona fide offer and it intends to consummate the Sale Transaction(s) if
           selected as the Successful Bid in accordance with these Bidding Procedures (as may
           be modified in accordance herewith at the Auction);

      m.   subject to each Debtor’s fiduciary obligations, including as set forth herein, the
           Court and the Debtors will not consider bids made after the Auction has been
           closed;

      n.   the Debtors, in their business judgment with the consent of the Required Holders
           (not to be unreasonably withheld, delayed, or conditioned) and in consultation with
           any statutory committees appointed in these cases, may (a) determine which
           Qualified Bid is the highest or otherwise best offer, (b) reject, at any time before
           entry of an order of the Court approving a Successful Bid, any Bid that the Debtors
           determine is (i) inadequate or insufficient, (ii) not in conformity with the
           requirements of the Bankruptcy Code, the Bidding Procedures, or the terms and
           conditions of the Sale Transaction(s), or (iii) contrary to the best interests of the
           Debtors, their estates, their creditors, and other stakeholders and (c) impose such
           other terms and conditions upon Qualified Bidders as the Debtors determine to be
           in the best interests of the Debtors’ estates in these chapter 11 cases;

      o.   the Debtors have the right to request any additional information that will allow the
           Debtors to make a reasonable determination as to a Qualified Bidder’s financial
           and other capabilities to consummate the transactions contemplated by their
           proposal and any further information that the Debtors believe is reasonably
           necessary to clarify and evaluate any Bid made by a Qualified Bidder during the
           Auction; provided that the rights of any statutory committees appointed in these
           cases to seek modification of the Bidding Procedures Order in accordance with
           Local Rule 9013-5(e) are hereby reserved;

      p.   the Debtors reserve the right, in their business judgment in consultation with the
           Consultation Parties, to adjourn the Auction one or more times to, among other
           things, (a) facilitate discussions between the Debtors and Qualified Bidders,
           (b) allow Qualified Bidders the opportunity to consider how they wish to proceed,
           and (c) provide Qualified Bidders the opportunity to provide the Debtors with such
           additional evidence as the Debtors, in their business judgment, may require that the
           Qualified Bidder has sufficient internal resources or has received sufficient non-


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               contingent debt and/or equity funding commitments to consummate the proposed
               transaction at the prevailing amount;

       q.      notwithstanding anything herein to the contrary, the Debtors may, in consultation
               with the Consultation Parties, at any time choose to adjourn the Auction by
               announcement at the Auction. The Debtors shall promptly file notice of such
               adjournment with the Court; and

       r.      the Debtors, in consultation with the Consultation Parties, reserve the right to
               further amend, waive, or otherwise modify the Auction Procedures at any time.

       For the avoidance of doubt, nothing in the Auction Procedures will prevent the Debtors
from exercising their respective fiduciary duties under applicable law (as reasonably determined
in good faith by the Debtors, in consultation with counsel).

XII.   Acceptance of the Successful Bid.

       The Auction shall continue until (i) there is only one Qualified Bid or a combination of
Qualified Bids that the Debtors determine, in their business judgment, with the consent of the
Required Holders (not to be unreasonably withheld, delayed or conditioned) and in consultation
with any statutory committees appointed in these cases, and in a manner consistent with the
exercise of their fiduciary duties and outlined below in further detail, is the highest or otherwise
best Bid to purchase the applicable Assets (each, a “Successful Bid”), and (ii) the Debtors
determine, in their business judgment in consultation with the Consultation Parties, that further
bidding is unlikely to result in a different Successful Bid or Successful Bids that would be
reasonably acceptable to the Debtors, at which point, the Auction will be closed.

        When determining the highest or otherwise best Qualified Bid, as compared to other
Qualified Bids, the Debtors, in consultation with the Consultation Parties, may consider the
following factors in addition to any other factors that the Debtors deem appropriate: (a) the amount
and nature of the total consideration, which includes but is not limited to, assumed liabilities
(administrative liabilities, cure payments), and the amount of Executory Contracts and Unexpired
Leases; (b) the likelihood of the Qualified Bidder’s ability to close a transaction and the timing
thereof; (c) the net economic effect of any changes to the value to be received by each of the
Debtors’ estates from the transaction contemplated by the Bid Documents; (d) the Debtors’
regulatory requirements; (e) the tax consequences of such Qualified Bid; (f) whether the Qualified
Bid contemplates a Sale Transaction(s) that would be consummated through a Plan or a sale
pursuant to section 363 of the Bankruptcy Code; (g) the certainty of a Qualified Bid leading to a
confirmed Plan; and (h) any other consideration that may impact the Debtors’ stakeholders.

        Any Qualified Bidder that submits a Successful Bid will be deemed a successful bidder
(the “Successful Bidder”) with respect to the Assets contemplated for the purchase pursuant to
such Successful Bid. The Debtors shall file notice of the Successful Bid and the Successful Bidder
with the Court within two (2) business days after conclusion of the Auction. Following conclusion
of the Auction (if any) and selection of a Successful Bidder, the Debtors shall present the results
of the Auction (if any) at the Sale Hearing and shall seek Court approval to enter into a binding
purchase agreement with the Successful Bidder on the terms of the Successful Bid (the order

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approving such entry, the “Definitive Purchase Agreement Order”). For the avoidance of doubt,
the Definitive Purchase Agreement Order shall deem the Debtors’ selection of the Successful Bid
final and, subject to the designation of the Back-Up Bid, the Debtors shall not solicit and /or accept
any further bids or offers to submit a bid after such selection; provided that, notwithstanding
anything to the contrary in these Bidding Procedures, nothing in these Bidding Procedures shall
require the board of directors, board of managers, or such similar governing body of any Debtor
to take or refrain from taking any action that the Debtors determined in good faith, in consultation
with counsel, would be inconsistent with applicable law or its fiduciary obligations under
applicable law.

        Within one (1) business day of the selection of the Successful Bidder, such Successful
Bidder (including both the Stalking Horse Bidder, if any, and Back-Up Bidder, if applicable) shall
make a cash deposit, in addition to its Good Faith Deposit, in an amount calculated on the basis of
the increased aggregate purchase price, submitted by wire transfer of immediately available funds
to an escrow account to be identified and established by the Debtors pursuant to a customary and
reasonable escrow agreement. Each Successful Bidder and the Debtors shall, as soon as
reasonably practicable, complete and sign all agreements, contracts, instruments, or other
documents evidencing and containing the terms upon which each such Successful Bid was made.

XIII. Designation of Back-Up Bidder.

         The Back-Up Bid to purchase any applicable Assets (the “Back-Up Bidder”) will be
determined by the Debtors with the consent of the Required Holders (not to be unreasonably
withheld, delayed, or conditioned) and in consultation with any statutory committees appointed in
these cases at the conclusion of the Auction and will be announced at that time to all the Qualified
Bidders participating in the Auction. The Debtors’ selection of a Back-Up Bid shall be deemed
final, and the Debtors shall not accept any further bids or offers to submit a bid after such selection;
provided that, notwithstanding anything to the contrary in these Bidding Procedures, nothing in
these Bidding Procedures shall require the board of directors, board of managers, or such similar
governing body of any Debtor to take or refrain from taking any action that the Debtors determined
in good faith, in consultation with counsel, would be inconsistent with applicable law or its
fiduciary obligations under applicable law. The Debtors will be authorized, but not required, to
consummate the Sale Transaction(s) with the Back-Up Bidder without further order of the Court,
so long as such Back-Up Bid shall have been approved in connection with the Court’s approval of
the Successful Bid, or subject to Court approval if not.

        If for any reason a Successful Bidder fails to consummate the purchase of such assets
within the time permitted, then the Back-Up Bidder will automatically be deemed to have
submitted the Successful Bid for such assets, and the Back-Up Bidder shall be deemed a
Successful Bidder for such assets and shall be required to consummate any Sale Transaction(s)
with the Debtors as soon as is reasonably practicable without further order of the Court, upon
twenty-four (24) hours advance notice filed with the Court. To the extent any objections are raised
and remain unresolved, the Court may schedule a hearing on an expedited basis to adjudicate such
objection.

       The Back-Up Bid shall remain open and irrevocable until the earliest to occur of (i) ninety
(90) days following the hearing to consider the applicable order approving the Sale Transaction(s)

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(the “Sale Order”), (ii) consummation of a Sale Transaction(s) with one or more Successful
Bidders at an Auction, and (iii) the release of such Back-Up Bid by the Debtors in writing
(the “Back-Up Termination Date”); provided that the Back-Up Termination Date shall be subject
to the terms and conditions set forth in the Stalking Horse APA. The Debtors shall return the
Back-Up Bidder’s deposit owed within five (5) business days of the Back-Up Termination Date.

XIV. Approval of the Sale Transaction(s).

        A hearing to consider approval of each Sale Transaction(s) (the “Sale Hearing”), is
currently scheduled to take place on May 6, 2024, at 10:00 a.m., prevailing Eastern Time, before
the Honorable Chief Judge Kaplan, at the United States Bankruptcy Court for the District of New
Jersey, Trenton, New Jersey 08608, or conducted consistent with the procedures established
pursuant to the Court’s standing orders.

        At the Sale Hearing, certain findings will be sought from the Court regarding the Auction,
including, among other things, that: (i) the Auction was conducted, and the Successful Bidder was
selected, in accordance with the Bidding Procedures; (ii) the Auction was fair in substance and
procedure; (iii) the Successful Bid was a Qualified Bid as defined in the Bidding Procedures; and
(iv) consummation of any Sale Transaction(s) as contemplated by the Successful Bid in
the Auction will provide the highest or otherwise best offer for the applicable Assets and is in the
best interests of the Debtors and their estates. The Sale Hearing may be continued to a later
date by the Debtors, in consultation with the Consultation Parties, by sending notice to
creditors or other parties in interest prior to, or making an announcement at, the Sale
Hearing. No further notice of any such continuance will be required to be provided to any
party (including the Stalking Horse Bidder, if any). The Sale Hearing may be the
confirmation hearing with respect to the Debtors’ Plan.

        Objections to the Sale Transaction(s) and the Sale Order must: (i) be in writing and
specify the nature of such objection; (ii) comply with the Bankruptcy Code, Bankruptcy
Rules, Local Rules, and all orders of the Court; and (iii) be filed with the Court and served
so as to be actually received by the Debtors, the Bid Notice Parties, and the foregoing parties’
respective counsel by April 29, 2024, at 4:00 p.m., prevailing Eastern Time.

XV.    Return of Good Faith Deposit.

        The Good Faith Deposit(s) of the Successful Bidder or Successful Bidders, if any, will,
upon consummation of the Successful Bid or Successful Bids, become property of the Debtors’
estates and be credited to the portion of such Successful Bidder’s or Successful Bidders’ applicable
Purchase Price.

        If the Successful Bidder or Successful Bidders (or Back-Up Bidder or Back-Up Bidders, if
applicable), if any, fails to consummate the Successful Bid or Successful Bids (or Back-Up Bid or
Back-Up Bids, if applicable), then the Good Faith Deposit(s) of such Successful Bidder or
Successful Bidders (or Back-Up Bidder or Back-Up Bidders, if applicable) will be irrevocably
forfeited to the Debtors and may be retained by the Debtors as liquidated damages, in addition to
any and all rights, remedies, or causes of action that may be available to the Debtors.


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        The Good Faith Deposits of any unsuccessful Qualified Bidders (except for any
Back-Up Bidder or Back-Up Bidders and any Stalking Horse Bidders) will be returned within
five (5) business days after consummation of the applicable Sale Transaction(s) or upon the
permanent withdrawal of the applicable proposed Sale Transaction(s).

       The Good Faith Deposit(s) of any Back-Up Bidder or Back-Up Bidders, if any, will be
returned to such Back-Up Bidder or Back-Up Bidders no later than five (5) business days of the
Back-Up Termination Date.

        The return of any Good Faith Deposits of any Stalking Horse Bidders will be subject to the
terms of the applicable Stalking Horse APA. All such Good Faith Deposits shall be held in escrow
and at no time shall be deemed property of the Debtors’ estates absent further order of the Court.

XVI. Reservation of Rights.

         The Debtors shall be entitled to modify these Bidding Procedures in their business
judgment and in a manner consistent with the exercise of their fiduciary duties, with the consent
of the Required Holders (not to be unreasonably withheld, delayed, or conditioned) and in
consultation with any statutory committees appointed in these cases, in any manner that will best
promote the goals of the bidding process or the Bidding Procedures, or impose, at or before the
Auction (if held), additional customary terms and conditions on the sale of the applicable Assets,
including, without limitation: (i) extending the deadlines set forth in the Bidding Procedures;
(ii) adjourning the Auction; (iii) adding procedural rules that are reasonably necessary or advisable
under the circumstances for conducting the Auction (if held); (iv) canceling the Auction;
(v) rejecting any or all Bids or Qualified Bids; and (vi) adjusting the applicable minimum Overbid
increment.

        All parties expressly reserve all of their rights (and do not waive any such rights) to seek
Court relief with regard to the Auction, the Bidding Procedures, the Sale Transaction(s), and any
related items (including, if necessary, to seek an extension of the Bid Deadline).

        Each reference in these Bidding Procedures and the Bidding Procedures Order to the
Debtors’ “consultation” (or similar phrase) with the Consultation Parties in connection with
making a determination or taking an action shall mean consultation in good faith and in a
reasonably timely manner under the circumstances prior to making such determination or taking
such action. All Consultation Parties will be permitted to seek relief from the Bankruptcy Court,
on an expedited basis, if they disagree with any actions or decisions made by the Debtors as part
of these Bidding Procedures.

XVII. Consent to Jurisdiction.

        All Qualified Bidders at the Auction shall be deemed to have consented to the core
jurisdiction of the Court and waived any right to a jury trial in connection with any disputes relating
to the Auction, the Sale, the Sale Transaction(s) and the construction and enforcement of these
Bidding Procedures, any written indications of interest, Preliminary Bid Documents, the Bids, the
Bid Documents, and any and all other agreements entered into in connection with any proposed
Sale Transaction(s), as applicable, and consented to the entry of a final order or judgment in any

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way related to these Bidding Procedures, the bid process, the Auction, the Sale Hearing, or the
construction and enforcement of any agreement or any other document relating to the Sale any
Sale Transaction(s) if it is determined that the Court would lack Article III jurisdiction to enter
such a final order or judgment absent the consent of the parties.

       Any parties raising a dispute relating to these Bidding Procedures must request that such
dispute be heard by the Court on an expedited basis.

XVIII. Fiduciary Out.

        Notwithstanding anything to the contrary in these Bidding Procedures or any document
filed with or entered by the Court, nothing in these Bidding Procedures or the Bidding Procedures
Order shall require a Debtor or its board of directors, board of managers, or similar governing body
of a Debtor, or special committee of any board of any Debtor, to take any action or to refrain from
taking any action related to any sale transaction(s) or with respect to these Bidding Procedures, to
the extent such Debtor, board of director, board of managers, or such similar governing body
determines in good faith, in consultation with counsel, that taking or failing to take such action, as
applicable, would be inconsistent with applicable law or its fiduciary obligations under applicable
law.

        Further, notwithstanding anything to the contrary in these Bidding Procedures, the Bidding
Procedures Order, or any document filed with or entered by the Court, through the date of the
Auction (if held), nothing in these Bidding Procedures or the Bidding Procedures Order shall
diminish the right of the Debtors and their respective directors, officers, managers, employees,
investment bankers, attorneys, accountants, consultants, and other advisors or representatives to:
(a) consider, respond to, and facilitate alternate proposals for sales or other transactions involving
any or all of the Assets (each an “Alternate Proposal”); (b) provide access to non-public
information concerning the Debtors to any entity or enter into confidentiality agreements or
nondisclosure agreements with any entity with respect to Alternative Proposals; (c) maintain or
continue discussions or negotiations with respect to Alternate Proposals; (d) otherwise cooperate
with, assist, participate in, or facilitate any inquiries, proposals, discussions, or negotiations of
Alternate Proposals; and (e) enter into or continue discussions or negotiations with any person or
entity regarding any Alternate Proposal; provided that if any Debtor decides to pursue an Alternate
Proposal, then such Debtor shall, on a professional eyes only basis (x) provide counsel to the
Consultation Parties a copy of any written offer or proposal (and notice and a description of any
oral offer or proposal) within three (3) Business Days of the Debtors’ determination to pursue such
Alternate Proposal, (y) provide information to the foregoing advisors regarding any discussions
relating to such Alternate Proposal as necessary to keep counsel to the Consultation Parties
reasonably informed as to the status and substance of such discussions, and (z) respond promptly
to reasonable information requests and questions from counsel to the Consultation Parties relating
to such Alternate Proposal.




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                                     Schedule 1

                                   Auction Notice
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    KIRKLAND & ELLIS LLP                                    COLE SCHOTZ P.C.
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    Joshua A. Sussberg, P.C. (pro hac vice pending)         Warren A. Usatine, Esq.
    Nicole L. Greenblatt, P.C. (pro hac vice pending)       Felice R. Yudkin, Esq.
    Francis Petrie (pro hac vice pending)                   Daniel J. Harris, Esq.
    Jeffrey Goldfine (pro hac vice pending)                 Court Plaza North, 25 Main Street
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    New York, New York 10022                                Telephone: (201) 489-3000
    Telephone: (212) 446-4800
                                                            msirota@coleschotz.com
    Facsimile: (212) 446-4900
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    joshua.sussberg@kirkland.com
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    francis.petrie@kirkland.com                             dharris@coleschotz.com
    jeffrey.goldfine@kirkland.com

    -and-

    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    Spencer A. Winters, P.C. (pro hac vice pending)
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    Facsimile: (312) 862-2200
    spencer.winters@kirkland.com


    Proposed Co-Counsel to the Debtors and                  Proposed Co-Counsel to the Debtors and
    Debtors in Possession                                   Debtors in Possession


                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

INVITAE CORPORATION, et al.,                                  Case No. 24-11362 (MBK)

                                     Debtors.
                                                1             (Joint Administration Requested)



                      NOTICE OF SALE BY AUCTION AND SALE HEARING

       PLEASE TAKE NOTICE that on February [__], 2024, the United States Bankruptcy
Court for the District of New Jersey (the “Court”) entered the Order (I) Approving Bidding
Procedures and Bid Protections, (II) Scheduling Certain Dates and Deadlines with Respect

1     The last four digits of Debtor Invitae Corporation’s tax identification number are 1898. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/invitae. The Debtors’ service
      address in these chapter 11 cases is 1400 16th Street, San Francisco, California 94103.
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Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Establishing Notice and
Procedures for the Assumption and Assignment of Contracts and Leases, (V) Authorizing the
Assumption and Assignment of Assumed Contracts, and (VI) Authorizing the Sale of Assets
[Docket No. [__]] (the “Bidding Procedures Order”) 2 in the chapter 11 cases of the
above-captioned debtors and debtors in possession (collectively, the “Debtors”).

       PLEASE TAKE FURTHER NOTICE that the Debtors are soliciting offers for the
purchase of substantially all or a portion of the Assets consistent with the bidding procedures
(the “Bidding Procedures”) approved by the Court pursuant to the Bidding Procedures Order. All
interested bidders should carefully read the Bidding Procedures and Bidding Procedures
Order. To the extent that there are any inconsistencies between this notice and the Bidding
Procedures or Bidding Procedures Order, the Bidding Procedures or Bidding Procedures Order, as
applicable, shall govern in all respects.

       PLEASE TAKE FURTHER NOTICE that, if the Debtors receive qualified competing
bids within the requirements and time frame specified by the Bidding Procedures, the Debtors will
conduct an auction, if any (the “Auction”), of the Assets on Wednesday, April 17, 2024,
at 10:00 a.m., prevailing Eastern Time, at the offices of the proposed co-counsel to the
Debtors: Kirkland & Ellis LLP, 601 Lexington Ave., New York, NY 10022.

        PLEASE TAKE FURTHER NOTICE that only the Debtors, Qualified Bidders, the U.S.
Trustee, any official committee of unsecured creditors appointed in these chapter 11 cases, and
any other parties as the Debtors may determine to include in their reasonable discretion, in each
case, along with their representatives and advisors, shall be entitled to attend the Auction, and only
Qualified Bidders will be entitled to make Overbids at the Auction. All interested or potentially
affected parties should carefully read the Bidding Procedures and the Bidding Procedures
Order.

       PLEASE TAKE FURTHER NOTICE that the Debtors will seek approval of the Sale
Transaction(s) at a hearing scheduled to commence on or before May 6, 2024, at 10:00 a.m.,
prevailing Eastern Time, (the “Sale Hearing”) before the Honorable Chief Judge Kaplan, at the
United States Bankruptcy Court for the District of New Jersey, Trenton, New Jersey, 08608, or
conducted consistent with the procedures established pursuant to the Court’s standing orders.

        PLEASE TAKE FURTHER NOTICE that, except as otherwise set forth in the Bidding
Procedures Order, objections to consummation or approval of the Sale Transaction(s) and any
objections to proposed cure payments or the assumption and assignment of Executory Contracts
or Unexpired Leases, must (a) be in writing; (b) conform to the applicable provisions of the
Bankruptcy Rules and the Local Rules; (c) state with particularity the legal and factual bases for
the objection and the specific grounds therefor; and (d) be filed with the Court and served so as to
be actually received on or before April 29, 2024, at 4:00 p.m., prevailing Eastern Time, by the
following parties: (i) the Debtors, Invitae Corporation, 1400 16th Street, San Francisco, California
94103, Attn: Tom Brida (tom.brida@invitae.com); (ii) proposed co-counsel to the Debtors,


2   Capitalized terms used but not defined in this notice have the meanings given to them in the Bidding Procedures
    Order.


                                                        2
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Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Nicole L.
Greenblatt, P.C. (nicole.greenblatt@kirkland.com); Francis Petrie (francis.petrie@kirkland.com);
and Nikki Gavey (nikki.gavey@kirkland.com) and Kirkland & Ellis LLP, 300 North LaSalle,
Chicago, Illinois 60654, Attn.: Spencer A. Winters, P.C. (spencer.winters@kirkland.com);
(iii) proposed co-counsel to the Debtors, Cole Schotz P.C., Court Plaza North, 25 Main Street,
Hackensack, New Jersey 07601, Attn.: Michael D. Sirota (msirota@coleschotz.com); Warren A.
Usatine (wusatine@coleschotz.com); Felice R. Yudkin (fyudkin@coleschotz.com); and Daniel J.
Harris (dharris@coleschotz.com); (iv) the Office of the United States Trustee for the District of
New Jersey, 1085 Raymond Boulevard, Suite 2100, Newark, NJ 07102, Attn: Jeffrey Sponder
(jeffrey.m.sponder@usdoj.gov); and Lauren Bielskie (lauren.bielskie@usdoj.gov); (v) counsel to
any official committee of unsecured creditors appointed in these chapter 11 cases; and (vi) counsel
to any Stalking Horse Bidder.

         CONSEQUENCES OF FAILING TO TIMELY MAKE AN OBJECTION

     ANY PARTY OR ENTITY WHO FAILS TO TIMELY MAKE AN OBJECTION TO
THE SALE OR A SALE TRANSACTION, AS APPLICABLE, ON OR BEFORE THE
SALE OBJECTION DEADLINE IN ACCORDANCE WITH THE BIDDING
PROCEDURES ORDER SHALL BE FOREVER BARRED FROM ASSERTING ANY
OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO THE TRANSFER OF
THE APPLICABLE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT AS MAY BE SET FORTH IN
THE APPLICABLE PURCHASE AGREEMENT OR THE PLAN, AS APPLICABLE.




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Dated: February [__], 2024
                                                /s/ DRAFT
                                                COLE SCHOTZ P.C.
                                                Michael D. Sirota, Esq.
                                                Warren A. Usatine, Esq.
                                                Felice R. Yudkin, Esq.
                                                Daniel J. Harris, Esq.
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                                                             fyudkin@coleschotz.com
                                                             dharris@coleschotz.com

                                                KIRKLAND & ELLIS LLP
                                                KIRKLAND & ELLIS INTERNATIONAL LLP
                                                Joshua A. Sussberg, P.C. (pro hac vice pending)
                                                Nicole L. Greenblatt, P.C. (pro hac vice pending)
                                                Francis Petrie (pro hac vice pending)
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                                                Email: joshua.sussberg@kirkland.com
                                                          nicole.greenblatt@kirkland.com
                                                          francis.petrie@kirkland.com
                                                          jeffrey.goldfine@kirkland.com
                                                -and-

                                                KIRKLAND & ELLIS LLP
                                                KIRKLAND & ELLIS INTERNATIONAL LLP
                                                Spencer A. Winters, P.C. (pro hac vice pending)
                                                300 North LaSalle
                                                Chicago, Illinois 60654
                                                Telephone: (312) 862-2000
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                                                Email:    spencer.winters@kirkland.com

                                                Proposed Co-Counsel to the Debtors and
                                                Debtors in Possession
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                                     Exhibit 2

                             Contract Assumption Notice
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    KIRKLAND & ELLIS LLP                                    COLE SCHOTZ P.C.
    KIRKLAND & ELLIS INTERNATIONAL LLP                      Michael D. Sirota, Esq.
    Joshua A. Sussberg, P.C. (pro hac vice pending)         Warren A. Usatine, Esq.
    Nicole L. Greenblatt, P.C. (pro hac vice pending)       Felice R. Yudkin, Esq.
    Francis Petrie (pro hac vice pending)                   Daniel J. Harris, Esq.
    Jeffrey Goldfine (pro hac vice pending)                 Court Plaza North, 25 Main Street
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    New York, New York 10022                                Telephone: (201) 489-3000
    Telephone: (212) 446-4800
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    nicole.greenblatt@kirkland.com                          fyudkin@coleschotz.com
    francis.petrie@kirkland.com                             dharris@coleschotz.com
    jeffrey.goldfine@kirkland.com

    -and-

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    Proposed Co-Counsel to the Debtors and                  Proposed Co-Counsel to the Debtors and
    Debtors in Possession                                   Debtors in Possession


                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

INVITAE CORPORATION, et al.,                                  Case No. 24-11362 (MBK)

                                     Debtors. 1               (Joint Administration Requested)



                  NOTICE TO CONTRACT PARTIES TO POTENTIALLY
              ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES




1     The last four digits of Debtor Invitae Corporation’s tax identification number are 1898. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/invitae. The Debtors’ service
      address in these chapter 11 cases is 1400 16th Street, San Francisco, California 94103.
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                    YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
                OR ONE OF YOUR AFFILIATES ARE A COUNTERPARTY TO AN
            EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE
            OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

       PLEASE TAKE NOTICE that on February [__], 2024, the United States Bankruptcy
Court for the District of New Jersey (the “Court”) entered the Order (I) Approving Bidding
Procedures and Bid Protections, (II) Scheduling Certain Dates and Deadlines with Respect
Thereto, (III) Approving the Form and Manner of Notice Thereof, (IV) Establishing Notice and
Procedures for the Assumption and Assignment of Contracts and Leases, (V) Authorizing the
Assumption and Assignment of Assumed Contracts, and (VI) Authorizing the Sale of Assets
[Docket No. [__]] (the “Bidding Procedures Order”) 2 in the chapter 11 cases of the
above-captioned debtors and debtors in possession (collectively, the “Debtors”).

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures and the
terms of any Successful Bid, the Debtors may assume and assign to the Successful Bidder the
Executory Contracts and Unexpired Leases listed on Exhibit A to which you are a counterparty,
upon approval of the Sale Transaction(s). The Debtors have conducted a review of their books
and records and have determined that the Cure Payments for unpaid monetary obligations under
such Executory Contract or Unexpired Lease is as set forth on Exhibit A.

        PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed
Cure Payments, object to a proposed assignment to the Successful Bidder of any Executory
Contract or Unexpired Lease, or dispute the ability of the Successful Bidder to provide adequate
assurance of future performance with respect to any Contract, your objection must: (i) be in
writing; (ii) comply with the applicable provisions of the Bankruptcy Rules, the Local Rules, and
any order governing the administration of these chapter 11 cases; (iii) state with specificity the
nature of the objection and, if the objection pertains to the proposed Cure Payments; (iv) state the
correct Cure Payments alleged to be owed to the objecting contract counterparty, together with
any applicable and appropriate documentation in support thereof; and (v) be filed with the Court
and served and actually received no later than April 29, 2024, at 4:00 p.m. (prevailing Eastern
Time) (the “Cure Objection Deadline”) by the Court and the following parties: (i) the Debtors,
Invitae Corporation, 1400 16th Street, San Francisco, California 94103, Attn: Tom Brida
(tom.brida@invitae.com); (ii) proposed co-counsel to the Debtors (A) Kirkland & Ellis LLP, 601
Lexington Avenue, New York, New York 10022, Attn:                     Nicole L. Greenblatt, P.C.
(nicole.greenblatt@kirkland.com); Francis           Petrie (francis.petrie@kirkland.com); and
Nikki Gavey (nikki.gavey@kirkland.com) and Kirkland & Ellis LLP, 300 North LaSalle, Chicago,
Illinois 60654, Attn.: Spencer A. Winters, P.C. (spencer.winters@kirkland.com) and (B) Cole
Schotz P.C., Court Plaza North, 25 Main Street, Hackensack, New Jersey 07601, Attn.: Michael
D. Sirota (msirota@coleschotz.com); Warren A. Usatine (wusatine@coleschotz.com); Felice R.
Yudkin (fyudkin@coleschotz.com); and Daniel J. Harris (dharris@coleschotz.com); (iii) the
Office of the United States Trustee for the District of New Jersey, 1085 Raymond Boulevard, Suite
2100, Newark, NJ 07102, Attn: Jeffrey Sponder (jeffrey.m.sponder@usdoj.gov); and Lauren

2   Capitalized terms used but not defined in this notice have the meanings given to them in the Bidding Procedures
    Order.



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Bielskie (lauren.bielskie@usdoj.gov); (iv) counsel any official committee of unsecured creditors
appointed in these chapter 11 cases; and (v) counsel to any Stalking Horse Bidder; provided that
the Debtors may modify the Cure Objection Deadline by filing a notice of such modification on
the Court’s docket.

        PLEASE TAKE FURTHER NOTICE that if no objection to (a) the Cure Payments,
(b) the proposed assignment and assumption of any Executory Contract or Unexpired Lease, or
(c) adequate assurance of the Successful Bidder’s ability to perform is filed by the Cure Objection
Deadline, then (i) you will be deemed to have stipulated that the Cure Payments as determined by
the Debtors are correct, (ii) you will be forever barred, estopped, and enjoined from asserting any
additional Cure Payments are due under the Executory Contract or Unexpired Lease, and (iii) you
will be forever barred, estopped, and enjoined from objecting to such proposed assignment to the
Successful Bidder on the grounds that the Successful Bidder has not provided adequate assurance
of future performance as of the closing date of the Sale Transaction(s).

       PLEASE TAKE FURTHER NOTICE that any objection to the proposed assumption
and assignment of an Executory Contract or Unexpired Lease or related Cure Payments in
connection with the Successful Bid that otherwise complies with these procedures yet remains
unresolved as of the commencement of the Sale Hearing, shall be heard at a later date as may be
fixed by the Court.

        PLEASE THAT FURTHER NOTICE that, notwithstanding anything herein, the mere
listing of any Executory Contract or Unexpired Lease on the Contract Assumption Notice or any
Supplemental Assumption Notice does not require or guarantee that such Executory Contract or
Unexpired Lease will be assumed by the Debtors at any time or assumed and assigned, and all
rights of the Debtors and the Successful Bidder with respect to such Executory Contracts and/or
Unexpired Leases are reserved. Moreover, the Debtors explicitly reserve the right, in their
reasonable discretion, to seek to reject or assume each Executory Contract or Unexpired Lease
pursuant to section 365(a) of the Bankruptcy Code and in accordance with the procedures allowing
the Debtors and/or the Successful Bidder, as applicable, to designate any Executory Contract or
Unexpired Lease as either rejected or assumed on a post-closing basis.

         PLEASE TAKE FURTHER NOTICE that, nothing herein (i) alters in any way the
prepetition nature of the Executory Contracts or Unexpired Leases or the validity, priority, or
amount of any claims of a counterparty to any Contract against the Debtors that may arise under
such Executory Contract or Unexpired Lease, (ii) creates a postpetition contract or agreement, or
(iii) elevates to administrative expense priority any claims of a counterparty to any Executory
Contract or Unexpired Lease against the Debtors that may arise under such Executory Contract or
Unexpired Lease.




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Dated: [_____], 2024
                                          /s/ DRAFT
                                          COLE SCHOTZ P.C.
                                          Michael D. Sirota, Esq.
                                          Warren A. Usatine, Esq.
                                          Felice R. Yudkin, Esq.
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                                                       dharris@coleschotz.com

                                          KIRKLAND & ELLIS LLP
                                          KIRKLAND & ELLIS INTERNATIONAL LLP
                                          Joshua A. Sussberg, P.C. (pro hac vice pending)
                                          Nicole L. Greenblatt, P.C. (pro hac vice pending)
                                          Francis Petrie (pro hac vice pending)
                                          Jeffrey Goldfine (pro hac vice pending)
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                                          New York, New York 10022
                                          Telephone: (212) 446-4800
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                                          Email: joshua.sussberg@kirkland.com
                                                    nicole.greenblatt@kirkland.com
                                                    francis.petrie@kirkland.com
                                                    jeffrey.goldfine@kirkland.com
                                          -and-

                                          KIRKLAND & ELLIS LLP
                                          KIRKLAND & ELLIS INTERNATIONAL LLP
                                          Spencer A. Winters, P.C. (pro hac vice pending)
                                          300 North LaSalle
                                          Chicago, Illinois 60654
                                          Telephone: (312) 862-2000
                                          Facsimile: (312) 862-2200
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                                          Proposed Co-Counsel to the Debtors and
                                          Debtors in Possession
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                                      Exhibit A

     Schedule of Assumed and Assigned Executory Contracts and Unexpired Leases
